Exhibit A
                               MILBANK, TWEED, HADLEY & McCLOY LLP
                                                Description of Legal Services
                                       November 13, 2017 through November 30, 2017
                                    43466.00200 M&G Creditors Committee - Asset Sales
          Date        Description                                                Hours Name


21430002 11/16/2017   Review bid procedures (1.0); corr. w/ internal                 1.30   Doyle, Lauren C.
                      team re same (.3).


21254079 11/16/2017   Review Corpus Christi open issues.                             0.60   Dunne, Dennis F.


21262942 11/16/2017   Call with party in interest regarding bidding                  3.80   Kopacz, Gregory A.
                      procedures (.3); draft email to L. Doyle
                      regarding same (.2); review bidding procedures
                      motion (3.3).


21253717 11/16/2017   Search for precedent bid procedures motions,                   1.00   Mardeusz, Julia I.
                      objections and sale orders (.8); circulate to
                      internal team (.2).


21246372 11/16/2017   Review document request (.8); draft memo re                    7.00   Price, Craig Michael
                      bidding procedures (4.6); call with holder
                      (.4); revise letter re mechanic's lien
                      committee (1.2).


21253945 11/16/2017   Update internal files re same (.2); emails with                0.50   Thomas, Charmaine
                      internal team re same (.3).


21262238 11/17/2017   Emails with tax team regarding bidding                         3.20   Kopacz, Gregory A.
                      procedures issues (.1); emails with corporate
                      team regarding same (.4); work on bidding
                      procedures memo (2.7).


21462919 11/17/2017   Conduct bidding procedures review.                             2.00   Price, Craig Michael


21283177 11/17/2017   Emails with BRG re bid procedures and sale                     0.40   Price, Michael
                      milestones (.2); review court filings re same
                      (.2).


21253960 11/17/2017   Review precedent stalking horse APAs (.5);                     0.70   Thomas, Charmaine
                      distribute said APAs (.2).


21289273 11/18/2017   Correspondence with internal FRG team re Asset                 0.30   Doyle, Lauren C.
                      Sale issues list.




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                               MILBANK, TWEED, HADLEY & McCLOY LLP
                                               Description of Legal Services
                                       November 13, 2017 through November 30, 2017
                                    43466.00200 M&G Creditors Committee - Asset Sales
          Date        Description                                                Hours Name


21262305 11/18/2017   Draft memorandum regarding the Debtors' bidding                8.20   Kopacz, Gregory A.
                      procedures (3.9); research in connection with
                      bidding procedures objection (4.3).


21262314 11/19/2017   Analysis regarding the Debtors' proposed                       7.30   Kopacz, Gregory A.
                      bidding procedures (5.6); revise memorandum
                      providing analysis regarding the Debtors'
                      proposed bidding procedures (1.7).


21289884 11/20/2017   Search for precedent bidding proc. order.                      0.20   Bryan, Jarret J.


21437249 11/20/2017   Prepare markup of bidding procedures (1.7);                    3.10   Kopacz, Gregory A.
                      research regarding 363 issues in connection
                      with bidding procedures objection (1.4).


21267661 11/20/2017   Review (.4) and comment on (.5) bidding                        4.60   O'Donnell, Dennis C.
                      procedures; revise memo re same (2.9); comms.
                      w/ G. Kopacz re same (.8).


21263284 11/21/2017   Correspondence with C. Price regarding bidding                 3.50   Kopacz, Gregory A.
                      procedures (.4); update bidding procedures
                      markup (.4); research in connection with sale
                      procedures objection (1.2); meeting with C.
                      Price re: bidding procedures objection (1.5).


21264224 11/21/2017   Meeting with P. Springer re section 363                        7.50   Miller, Alexander E.
                      research and case law (.3); research case law
                      on same (7.2).


21267656 11/21/2017   Review bidding procedures (1.5); revise                        5.00   O'Donnell, Dennis C.
                      memorandum to Committee re same (3.5).


21462920 11/21/2017   O/c with G. Kopacz re bidding procedures                       2.70   Price, Craig Michael
                      objection (1.5); review same (1.2).


21300654 11/21/2017   Emails w/ Jefferies team re sale process and                   0.50   Price, Michael
                      alternatives.


21437254 11/21/2017   Meeting with A. Miller re research on section                  0.30   Springer, Paul J.
                      363.




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                               MILBANK, TWEED, HADLEY & McCLOY LLP
                                               Description of Legal Services
                                       November 13, 2017 through November 30, 2017
                                    43466.00200 M&G Creditors Committee - Asset Sales
          Date        Description                                                Hours Name


21277854 11/21/2017   Review precedent re Sale & Bid Proc (1.8);                      2.10   Thomas, Charmaine
                      revise internal files re same (.3).


21276691 11/22/2017   Review bid procedures precedent (.8);                           1.20   Eskin, Emily Rose
                      correspondence with A. Miller re same (.4).


21282042 11/22/2017   Research for bidding procedures objection.                      3.90   Kopacz, Gregory A.


21291566 11/22/2017   Research treatment of bidding issues.                           5.30   Miller, Alexander E.


21382217 11/22/2017   Outline Sale procedures Objection (2.5);                        6.60   O'Donnell, Dennis C.
                      research re: same (1.4); review Bidding
                      Procedures Motion (2.7).


21289175 11/24/2017   Revise memo on bidding procedures (1.8).                        1.80   Doyle, Lauren C.


21275486 11/26/2017   Review request re bidding procedures.                           0.60   Dunne, Dennis F.


21282339 11/26/2017   Review diligence materials re sale (1.1);                       3.70   Kopacz, Gregory A.
                      revise bidding procedures objection (2.6).


21283162 11/26/2017   Review sale process motion.                                     0.80   Raval, Abhilash M.


21288137 11/27/2017   Revise Bid Procedures Memo.                                     1.00   Doyle, Lauren C.


21323651 11/27/2017   Revise bidding procedures memorandum (2.2);                     6.30   Kopacz, Gregory A.
                      draft bidding procedures objection (4.1).


21291637 11/27/2017   Review case law precedent re bidding                            4.00   Miller, Alexander E.
                      procedures.


21445205 11/27/2017   Draft Bidding Procedures Objection (4.5);                      10.10   O'Donnell, Dennis C.
                      research re: same (3.4); correspondence with
                      team re: same (.4); revise Board Letter re:
                      bidding procedures (1.1); correspond with L.
                      Doyle re: same (.7).


21462895 11/27/2017   Provide comments on memo to committee re                        0.40   Raval, Abhilash M.
                      bidding procedures(.4).




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                               MILBANK, TWEED, HADLEY & McCLOY LLP
                                                 Description of Legal Services
                                       November 13, 2017 through November 30, 2017
                                    43466.00200 M&G Creditors Committee - Asset Sales
          Date        Description                                                Hours Name


21322638 11/28/2017   Corresp. w/ A. Miller re precedent transcripts                  0.70   Bryan, Jarret J.
                      (.1); retrieve same (.5); circulate same (.1).


21358170 11/28/2017   Review bidding research.                                        0.50   Doyle, Lauren C.


21481560 11/28/2017   Review letter to Board of Directors of Debtors                  0.10   Hood, Andrea G.
                      re bidding procedures.


21323666 11/28/2017   Review diligence issues and analysis regarding                  1.20   Kopacz, Gregory A.
                      Apple Grove plant.


21323668 11/28/2017   Revise bidding procedures memorandum (1.8);                     2.60   Kopacz, Gregory A.
                      analyze issues re same (.8).


21292133 11/28/2017   Draft internal memo for circulation on bidding                  6.80   Miller, Alexander E.
                      procedures.


21382012 11/28/2017   Draft Bidding Procedures Objection (6.5);                       8.80   O'Donnell, Dennis C.
                      research re: same (1.4); correspondence with
                      team re: same (.9).


21481561 11/28/2017   Correspond with G. Kopacz re open items and                     0.50   Price, Craig Michael
                      bidding procedures (.5).


21359037 11/29/2017   Correspondence with G. Kopacz re sale process.                  0.30   Doyle, Lauren C.


21323325 11/29/2017   Work on declaration in support of bidding                       1.40   Kopacz, Gregory A.
                      procedures objection.


21463386 11/29/2017   Research regarding bidding procedure precedent                  6.20   Kopacz, Gregory A.
                      (3.3); research regarding Committee involvment
                      in same (2.9).


21333065 11/29/2017   Draft Bidding Procedures Objection (9.1);                      11.70   O'Donnell, Dennis C.
                      research re: same (1.7); calls w/ E. Reimer re
                      same (.9).


21333932 11/29/2017   Review potential bidder information.                            0.20   Price, Michael


21446052 11/29/2017   Conferences with D. O'Donnell re 363 sale.                      0.90   Reimer, Eric R.


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                               MILBANK, TWEED, HADLEY & McCLOY LLP
                                                Description of Legal Services
                                       November 13, 2017 through November 30, 2017
                                    43466.00200 M&G Creditors Committee - Asset Sales
          Date        Description                                                Hours Name


21323206 11/29/2017   Pull and distribute bid. proc. precedent.                      0.30   Thomas, Charmaine


21327067 11/30/2017   Review Jefferies view and support for valuation                0.60   Dunne, Dennis F.
                      of Corpus Christi.


21323614 11/30/2017   Work on declaration in support of sale                         5.70   Kopacz, Gregory A.
                      objection (3.9); markup bidding procedures
                      (.6); draft additional arguments for sale
                      objection (1.2).


21328266 11/30/2017   Comment on Szlezinger declaration (1.5); review                2.40   O'Donnell, Dennis C.
                      related documents (.9).




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                               MILBANK, TWEED, HADLEY & McCLOY LLP
                                                Description of Legal Services
                                       November 13, 2017 through November 30, 2017
                                43466.00400 M&G Creditors Committee - Avoidance Actions
          Date        Description                                                Hours Name


21254071 11/16/2017   Review issues, facts and potential litigation                  1.30   Dunne, Dennis F.
                      targets.




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                               MILBANK, TWEED, HADLEY & McCLOY LLP
                                                Description of Legal Services
                                       November 13, 2017 through November 30, 2017
                      43466.00600 M&G Creditors Committee -Cash Collateral/Adequate Protection
          Date        Description                                                Hours Name


21255298 11/14/2017   Prepare cash collateral materials for attorney                 0.80   Bryan, Jarret J.
                      review (.7); corresp.w/ A. Lees re same (.1).


21283218 11/14/2017   Review cash collateral filings (.6); begin                     3.80   Price, Michael
                      preparation of issues list re same (.5);
                      research re Polymers capital structure (1.7);
                      prepare list of potential topics for diligence
                      requests (1.0).


21283092 11/16/2017   Emails w/ L. Doyle re Comerica and Banco de                    0.30   Price, Michael
                      Brazil facility collateral package (.2); review
                      company corresp. re same (.1).


21264082 11/21/2017   Corr. w/ M. Price re cash management and                       1.30   Doyle, Lauren C.
                      related issues (1.3).


21464265 11/27/2017   Review pleadings re cash collateral (.4).                      0.40   Reimer, Eric R.


21359072 11/30/2017   Correspondence re cash collateral issues with                  0.40   Doyle, Lauren C.
                      M. Price.


21333906 11/30/2017   Revise CCO issues list.                                        1.80   Price, Michael




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                               MILBANK, TWEED, HADLEY & McCLOY LLP
                                                Description of Legal Services
                                       November 13, 2017 through November 30, 2017
                                43466.00700 M&G Creditors Committee - Cash Management
          Date        Description                                                Hours Name


21283091 11/16/2017   Draft email to Committee regarding company                     1.10   Price, Michael
                      request re bank accounts (.6); follow up emails
                      with Committee member re timing of same (.3);
                      emails with A. Raval and L. Doyle re same (.2).


21254117 11/17/2017   Review pre-petition cash transfers.                            0.80   Dunne, Dennis F.


21283175 11/17/2017   Call with S. Corr-Irvine (Jones Day) re cash                   0.60   Price, Michael
                      management concerns (.4); emails re same with
                      internal team (.2).


21436788 11/20/2017   Correspondence re first day payment motions                    0.20   Doyle, Lauren C.
                      with BRG.


21267655 11/21/2017   Review cash management order (1.3); additional                 3.10   O'Donnell, Dennis C.
                      revisions to cash management order (.9);
                      additional emails to Jones Day re same (.9).


21462891 11/22/2017   Correspondence with Jones Day on open issues re                1.00   Doyle, Lauren C.
                      cash management (.3); correspondence internally
                      re same (.7).


21438589 11/24/2017   Correspondence w/ D. O'Donnell re cash                         0.50   Doyle, Lauren C.
                      management order changes.


21282187 11/26/2017   Prepare email to Committee Members regarding                   0.70   Kopacz, Gregory A.
                      Cash Management Motion.


21463383 11/27/2017   Call with BRG & Jefferies re call with FTI                     1.10   Doyle, Lauren C.
                      (.7); review email notes from calls with FTI
                      (.4).


21323648 11/27/2017   Email to UCC regarding cash management (.9);                   1.10   Kopacz, Gregory A.
                      emails to Committee Member regarding same (.2).


21462898 11/29/2017   Correspondence with D. O'Donnell re cash                       0.20   Doyle, Lauren C.
                      management.


21328275 11/30/2017   Email S. Corr-Irvine (Jones Day) re cash                       0.50   O'Donnell, Dennis C.
                      management order.



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                               MILBANK, TWEED, HADLEY & McCLOY LLP
                                                Description of Legal Services
                                       November 13, 2017 through November 30, 2017
                               43466.00900 M&G Creditors Committee - Committee Meetings
          Date        Description                                                Hours Name


21264086 11/13/2017   Attend initial committee meeting.                              1.80   Doyle, Lauren C.


21263046 11/13/2017   Attend initial Committee meeting (1.8); attend                 1.90   Kopacz, Gregory A.
                      to minutes in connection therewith (.1).


21243068 11/13/2017   Attend initial Committee meeting (1.8); attend                 2.00   Raval, Abhilash M.
                      to open issues re same (.2).


21429504 11/15/2017   Attend committee call.                                         0.90   Baharun, Najeh


21429506 11/15/2017   Attend creditor committee call (.9); prep for                  2.20   Doyle, Lauren C.
                      same (1.3).


21253859 11/15/2017   Attend committee meetings (partial).                           0.60   Dunne, Dennis F.


21263381 11/15/2017   Attend committee meeting (.9); draft committee                 1.90   Kopacz, Gregory A.
                      minutes (1.0).


21462894 11/15/2017   Attend introductory committee call (.9).                       0.90   Lees, Alexander


21264116 11/15/2017   Attend UCC Conference call (.9); prepare for                   1.10   Miller, Alexander E.
                      same (.2).


21283040 11/15/2017   Call with Committee (.9); prepare roll for same                1.60   Price, Michael
                      (.3); prepare agenda for Committee call (.4).


21243065 11/15/2017   Prepare for committee call (1.1) and attend                    2.00   Raval, Abhilash M.
                      same (.9).


21429794 11/15/2017   Conference call with UCC.                                      0.90   Reimer, Eric R.


21253544 11/15/2017   Attend committee call.                                         1.00   Stone, Alan J.


21429999 11/16/2017   Review background information re: debtors in                   1.80   Baharun, Najeh
                      preparation for committee call (.8); attend ucc
                      committee call (1.0).


21430003 11/16/2017   Attend committee call (1.0); prep for Committee                3.00   Doyle, Lauren C.
                      Call (2.0).



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                               MILBANK, TWEED, HADLEY & McCLOY LLP
                                               Description of Legal Services
                                       November 13, 2017 through November 30, 2017
                               43466.00900 M&G Creditors Committee - Committee Meetings
          Date        Description                                                Hours Name


21254066 11/16/2017   Provide update at telephonic Committee meeting.                0.50   Dunne, Dennis F.


21464251 11/16/2017   Prepare for committee call (0.9); emails to                    2.80   Kopacz, Gregory A.
                      committee members regarding upcoming meeting
                      (.5); emails with team regarding committee call
                      agenda (.4); attend committee meeting regarding
                      case developments and strategic considerations
                      (1.0).


21264168 11/16/2017   Attend committee meeting (1.0); prepare                        1.60   Miller, Alexander E.
                      Committee Meeting minutes (.6).


21283075 11/16/2017   Attend Committee call (1.0); preparations for                  1.60   Price, Michael
                      same (.6).


21243072 11/16/2017   Prepare for Committee call (1.7); attend said                  2.70   Raval, Abhilash M.
                      Committee call (1.0).


21464238 11/16/2017   Conference call with UCC (1).                                  1.00   Reimer, Eric R.


21462896 11/16/2017   Attend committee call (1.0).                                   1.00   Stone, Alan J.


21437251 11/20/2017   Correspondence with Committee advisor teams                    0.40   Price, Michael
                      (Milbank, BRG, Jefferies, and Cole Schotz) re
                      agenda for committee call (.4).


21264083 11/21/2017   Review materials for distribution to committee                 1.00   Doyle, Lauren C.
                      for call, including working group list, BRG
                      Presentation, and agenda.


21300647 11/21/2017   Prepare agenda with talking points for                         2.00   Price, Michael
                      Committee call (1.0); emails w/ internal team,
                      L. Szlezinger (Jefferies) and J. D'Amico
                      (Jefferies) re same (.8); draft insert/summary
                      of hearing for update email to Committee (.2).


21289213 11/22/2017   Prep for committee call (1.8); Attend committee                3.80   Doyle, Lauren C.
                      call (1.6); follow up w/ M. Price re same (.4).


21282043 11/22/2017   Prepare for committee meeting (.7); attend                     2.30   Kopacz, Gregory A.
                      committee meeting (1.6).


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                               MILBANK, TWEED, HADLEY & McCLOY LLP
                                               Description of Legal Services
                                       November 13, 2017 through November 30, 2017
                               43466.00900 M&G Creditors Committee - Committee Meetings
          Date        Description                                                Hours Name


21291485 11/22/2017   Attend Committee Call (1.6); draft notes from                  2.10   Miller, Alexander E.
                      the UCC meeting (.4); circulate same (.1).


21300689 11/22/2017   Attend Committee call (1.6); prep for same                     2.20   Price, Michael
                      (.2); follow up w/ L. Doyle re same (.4).


21268093 11/22/2017   Attend committee call.                                         1.60   Raval, Abhilash M.


21464257 11/22/2017   Conference call with committee.                                1.60   Reimer, Eric R.


21270959 11/22/2017   Prepare materials for Committee call (.5);                     2.10   Springer, Paul J.
                      telephonically attend Committee call (1.6).


21462900 11/22/2017   Attend committee call.                                         1.60   Stone, Alan J.


21282095 11/24/2017   Revise minutes from recent Committee meetings.                 2.10   Kopacz, Gregory A.


21445327 11/28/2017   Discuss agenda with M. Price for UCC call and                  0.40   Doyle, Lauren C.
                      talking points.


21324281 11/28/2017   Draft annotated agenda for Committee call                      1.70   Price, Michael
                      (1.1); confer with L. Doyle re same (.4); draft
                      email to Committee re memoranda in advance of
                      call (.2).


21289180 11/28/2017   Prepare for committee call.                                    1.50   Raval, Abhilash M.


21311570 11/28/2017   Coordinate preparation of materials for                        0.60   Springer, Paul J.
                      Committee call.


21372265 11/29/2017   Prepare for committee call (1.0); Weekly                       3.70   Doyle, Lauren C.
                      committee call (1.5); follow up correspondence
                      with Committee re: pending vote (1.2).


21303001 11/29/2017   Attend committee meeting.                                      1.50   Dunne, Dennis F.


21323622 11/29/2017   Prepare for call with Committee (.7); Committee                2.20   Kopacz, Gregory A.
                      call (1.5).




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                               MILBANK, TWEED, HADLEY & McCLOY LLP
                                                Description of Legal Services
                                        November 13, 2017 through November 30, 2017
                               43466.00900 M&G Creditors Committee - Committee Meetings
          Date        Description                                                 Hours Name


21333439 11/29/2017   UCC Committee call (1.5); draft call notes                      2.90   Miller, Alexander E.
                      (1.0); correspondence w/ P. Springer re same
                      (.4).


21333886 11/29/2017   Attend committee call (partial) (1.0); prep for                 1.20   Price, Michael
                      same (.2).


21295520 11/29/2017   Prepare for committee call (.5); attend same                    2.00   Raval, Abhilash M.
                      (1.5).


21446051 11/29/2017   Conference call with Committee (1.5); prepare                   2.00   Reimer, Eric R.
                      for same (.5).


21446054 11/29/2017   Attend committee call re status/next steps to                   1.50   Schaeffer, Fiona
                      give recommendations on proposed sale.


21462914 11/29/2017   Attend committee call (1.5).                                    1.50   Stone, Alan J.




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                              MILBANK, TWEED, HADLEY & McCLOY LLP
                                                Description of Legal Services
                                        November 13, 2017 through November 30, 2017
                      43466.00901 M&G Creditors Committee - Committee Organizational Documents
          Date        Description                                                 Hours Name


21255372 11/14/2017   Review for precedent committee formation                        1.30   Bryan, Jarret J.
                      documents (1.1); corresps. w/ D. O'Donnell re
                      same (.2).


21429213 11/14/2017   Review draft bylaws (.3); respond to Committee                  0.50   Price, Michael
                      questions re same (.2).


21247069 11/14/2017   Draft Committee bylaws.                                         2.00   Springer, Paul J.


21429510 11/15/2017   Proofread committee bylaws (.5); corresp with                   0.80   Eskin, Emily Rose
                      P. Springer re same (.3).


21260750 11/15/2017   Corresp. M. Price and L. Doyle re: committee                    0.60   Kinney, Brian
                      protocols.


21283038 11/15/2017   Emails w/ A. Raval re bylaws and committee                      0.20   Price, Michael
                      organizational matters.


21247077 11/15/2017   Draft UCC bylaws (1.2); revise same (1.1);                      2.50   Springer, Paul J.
                      circulate same to Committee (.2).


21430001 11/16/2017   Review by laws.                                                 1.50   Doyle, Lauren C.


21462870 11/16/2017   Revise email to Committee member re: governance                 1.00   Doyle, Lauren C.
                      query (.6); corr. w/ P. Springer re same (.4).


21253655 11/16/2017   Review committee bylaws (.2); corresp. with                     0.30   Mardeusz, Julia I.
                      internal team re same (.1).


21243077 11/16/2017   Review (.4) and provide comments (.7) upon                      1.10   Raval, Abhilash M.
                      draft UCC bylaws.


21437420 11/22/2017   Review questions from Committee member re                       0.20   Price, Michael
                      bylaws and process.




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                              MILBANK, TWEED, HADLEY & McCLOY LLP
                                               Description of Legal Services
                                      November 13, 2017 through November 30, 2017
                      43466.01000 M&G Creditors Comm.- Communications with Committee Members
          Date        Description                                               Hours Name


21429210 11/14/2017   Call with committee member re Bankruptcy                      1.20   Doyle, Lauren C.
                      Process/timeline.


21263075 11/14/2017   Communications with committee member regarding                1.60   Kopacz, Gregory A.
                      issues regarding Committee governance (.4);
                      communications with committee member regarding
                      same (.3); emails to Committee members
                      regarding upcoming meeting (.9).


21283022 11/14/2017   Call with Committee member re status and                      0.60   Price, Michael
                      various administrative matters (.6).


21247076 11/14/2017   Draft memorandum on certain matters to be heard               3.70   Springer, Paul J.
                      during Dec. 1, 2017 hearing.


21263373 11/15/2017   Communications with committee member regarding                2.10   Kopacz, Gregory A.
                      upcoming meeting (.3); emails to Committee
                      regarding upcoming call and related materials
                      (1.8).


21264154 11/15/2017   Review Debtors' remaining Second Day Motions                  3.30   Miller, Alexander E.
                      (2.0); draft summaries of those motions for
                      Second Day Motions omnibus memorandum to the
                      Committee (1.3).


21247078 11/15/2017   Draft memorandum on certain second day motions.               3.80   Springer, Paul J.


21263348 11/16/2017   Draft email to Committee members regarding                    1.60   Kopacz, Gregory A.
                      bidding procedures and bylaws (.8); email to
                      Committee regarding Debtors' bank account
                      request (.2); respond to emails from Committee
                      regarding meeting (.6).`


21264195 11/16/2017   Draft Second Day Omnibus Memo on pertinent fee                3.00   Miller, Alexander E.
                      retention applications and Second Day Motions.


21247111 11/16/2017   Draft memo on certain matters to be heard in                  5.20   Springer, Paul J.
                      connection with second day hearing.


21262904 11/17/2017   Prepare email for the Committee regarding first               0.60   Kopacz, Gregory A.
                      day motions and strategy.



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                              MILBANK, TWEED, HADLEY & McCLOY LLP
                                               Description of Legal Services
                                      November 13, 2017 through November 30, 2017
                      43466.01000 M&G Creditors Comm.- Communications with Committee Members
          Date        Description                                               Hours Name


21264128 11/17/2017   Continue drafting Second Motions Omnibus Memo                 6.10   Miller, Alexander E.
                      for the Committee (2.0); meeting with P.
                      Springer re: revisions to same (1.1);
                      incorporate comments to same (3.0).


21244131 11/17/2017   Review memoranda to UCC re: matters to be heard               1.00   Raval, Abhilash M.
                      at upcoming hearing.


21252210 11/17/2017   Revise memo re certain matters to be heard in                 5.70   Springer, Paul J.
                      connection with second day hearing (4.6); meet
                      with A. Miller re same (1.1).


21264043 11/18/2017   Revise draft of Second Day Motions Omnibus Memo               1.70   Miller, Alexander E.
                      (1.1); email correspondence w/ P. Springer
                      about the draft (.6).


21289240 11/19/2017   Revise second day memo (2.0); review related                  4.50   Doyle, Lauren C.
                      pleadings including proposed orders (2.5).


21264040 11/19/2017   Revise discussions of Memo's Second Day Motions               1.60   Miller, Alexander E.
                      sections.


21289554 11/20/2017   Prepare email to Committee member re: case                    1.10   Doyle, Lauren C.
                      status of proceedings (.7); review email to UCC
                      re second day memos (.4).


21282279 11/20/2017   Email to Committee regarding upcoming hearing.                0.60   Kopacz, Gregory A.


21264038 11/20/2017   Meeting with P. Springer to discuss revisions                 0.90   Miller, Alexander E.
                      to the Second Day Motions Omnibus Memo for the
                      Committee (.2); make revisions to the Second
                      Day Motions Omnibus Memo (.7).


21407349 11/20/2017   Revise memo re pending motions.                               0.90   O'Donnell, Dennis C.


21299645 11/20/2017   Email to Committee re second day memo, timing                 0.80   Price, Michael
                      of DIP and sale hearings, and status of
                      Committee position/negotiations re same.




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21270946 11/20/2017   Revise memo re certain second day motions                      2.30   Springer, Paul J.
                      (2.1); meeting with A. Miller to discuss edits
                      to same (.2).


21263270 11/21/2017   Draft email to Committee regarding upcoming                    0.60   Kopacz, Gregory A.
                      call and case developments.


21270951 11/21/2017   Prepare update email to committee re court                     0.40   Springer, Paul J.
                      hearing outcome.


21282069 11/22/2017   Prepare emails to Committee members regarding                  0.90   Kopacz, Gregory A.
                      recent motions.


21438588 11/24/2017   Correspondence w/ internal FRG team re                         0.30   Doyle, Lauren C.
                      Committee Member questions (.1); correspondence
                      w/ internal FRG team re other memos (.2).


21282234 11/24/2017   Draft email to Committee members regarding                     0.30   Kopacz, Gregory A.
                      working group lists.


21282097 11/25/2017   Revise memorandum for committee regarding                      6.40   Kopacz, Gregory A.
                      motions scheduled for hearing on December 11
                      (5.7); review motion to appoint a lien
                      committee re same (.7).


21445201 11/26/2017   Revise memo re matters for December 11 hearing.                1.00   Doyle, Lauren C.


21288142 11/27/2017   Update call with counsel to committee member                   0.60   Doyle, Lauren C.
                      (.1); email to team re same (.1); internal
                      email re committee member (.2); update call
                      with committee member (.2).


21288155 11/27/2017   Revise pleadings memo (.7); meeting w/ A. Raval                1.50   Doyle, Lauren C.
                      re next steps (.8).


21358152 11/28/2017   Review memo to UCC re 2nd day issues.                          0.80   Doyle, Lauren C.


21323154 11/28/2017   Email Committee regarding Rothschild and                       1.40   Kopacz, Gregory A.
                      KEIP/KERP (.7); email committee regarding
                      matters to be heard at December 11 hearing
                      (.7).


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21462915 11/28/2017   Revise memorandum regarding matters to be heard               1.30   Kopacz, Gregory A.
                      on December 11.


21289212 11/28/2017   Review “Second Day” Motion for Committee                      3.00   Raval, Abhilash M.
                      including underlying motions.


21323612 11/30/2017   Email to Committee regarding information                      0.60   Kopacz, Gregory A.
                      procedures.




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                           43466.01002 M&G Creditors Comm.- Communications with Creditors
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21462872 11/17/2017   Prepare response to creditor inquiry re:                       0.70   Doyle, Lauren C.
                      participation in case (.7).


21252205 11/17/2017   Revise response email to creditor inquiry re                   0.80   Springer, Paul J.
                      general chapter 11 process (.4): call w/
                      creditor re alternative DIP options (.4).


21252365 11/18/2017   Draft Committee 1102 motion.                                   1.20   Springer, Paul J.


21464239 11/21/2017   Draft 1102 motion.                                             2.10   Springer, Paul J.


21462893 11/22/2017   Call with unsecured creditor re case status.                   0.30   Doyle, Lauren C.


21311568 11/28/2017   Revise 1102 motion.                                            0.70   Springer, Paul J.


21462899 11/30/2017   Correspondence with P. Springer & G. Kopacz re                 0.70   Doyle, Lauren C.
                      comments to 1102 motion (.5); comments re
                      circulating same to committee (.2).


21328268 11/30/2017   Comment on 1102 motion (.7); internal emails re                1.10   O'Donnell, Dennis C.
                      same (.4).


21333915 11/30/2017   Call w/ unsecured creditor (non-Committee                      0.40   Price, Michael
                      member) re status of case.


21462917 11/30/2017   Review UCC information motion (.8);                            0.80   Raval, Abhilash M.


21312340 11/30/2017   Revise 1102 motion (.4); correspondence with L.                0.70   Springer, Paul J.
                      Doyle re review of 1102 motion (.3).




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21264097 11/14/2017   Kickoff call with Jones Day (1.0); mult.                       1.50   Doyle, Lauren C.
                      follow up emails w/ internal team re same (.5)


21253825 11/14/2017   Conf. with Jones Day and Rothschild re case                    0.60   Dunne, Dennis F.
                      history and issues (partial).


21283056 11/14/2017   Kickoff call with Jones Day team (1.0); draft                  1.70   Price, Michael
                      email summary with general update for team
                      regarding same (.7).


21243059 11/14/2017   Attend to initial call with Debtors (1.0); prep                4.20   Raval, Abhilash M.
                      for same (2.0); subsequent call with Carl Black
                      (Jones Day) (.5); internal summary of Call re:
                      same (.7).


21243736 11/14/2017   Attend Kick off call with Jones Day.                           1.00   Reimer, Eric R.


21429503 11/14/2017   Attend kick off call w/debtors, Jones Day                      1.20   Stone, Alan J.
                      (1.0); corresp. w/ team re: same. (.2).


21264163 11/15/2017   Meet with Debtors’ advisors w/ A. Raval, D.                    3.50   Doyle, Lauren C.
                      Dunne, A. Stone.


21253857 11/15/2017   Attend meeting with debtors' advisors at Jones                 2.90   Dunne, Dennis F.
                      Day w/ L. Doyle, A. Raval, A.Stone.


21263369 11/15/2017   Communications with advisors regarding case                    1.40   Kopacz, Gregory A.
                      strategy and upcoming meeting.


21283041 11/15/2017   Attend meeting with company advisors (3.5);                    3.60   Price, Michael
                      emails with S. Corr-Irvine (Jones Day) re
                      slides and diligence materials (.1).


21429793 11/15/2017   Prepare summary of key points from meeting for                 1.30   Price, Michael
                      Committee advisors.


21243082 11/15/2017   Prepare for in person meeting with Debtors                     4.00   Raval, Abhilash M.
                      (.5); attend same w/ D. Dunne, L. Doyle,
                      A.Stone (3.5).




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21243841 11/15/2017   Attend meetings with counsel to debtor and                     3.50   Reimer, Eric R.
                      other advisors.


21253552 11/15/2017   Attend meeting w/Debtors at JD w/ D. Dunne, L.                 3.50   Stone, Alan J.
                      Doyle, A. Raval.


21252206 11/17/2017   Call with Debtors' counsel re first day motions                0.30   Springer, Paul J.
                      (.3).


21436789 11/20/2017   Correspondence re first day orders with Jones                  0.40   Doyle, Lauren C.
                      Day.


21264079 11/21/2017   Call with S. Corr-Irvine (Jones Day) and D.                    1.00   Doyle, Lauren C.
                      O’Donnell re: motions and pending applications
                      (.3); follow up corr w/ Jones Day and internal
                      team re same re A&M Retention (.7).


21270952 11/21/2017   Review correspondence with Debtors re revisions                0.70   Springer, Paul J.
                      to proposed first day orders.


21445200 11/26/2017   Call with Jones Day re proposed orders (.7).                   0.70   Doyle, Lauren C.


21382204 11/27/2017   Comms.with S. Corr-Irvine (Jones Day) re:                      1.40   O'Donnell, Dennis C.
                      Interim Comp, Utilities, and Cash Management
                      Orders.


21358168 11/28/2017   Call with C. Black (Jones Day) re various case                 0.70   Doyle, Lauren C.
                      issues (.5); prepare for same (.2).




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                      43466.01300 M&G Creditors Comm.-Communications with other Constituencies
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21283028 11/14/2017   Call with M. Kieselstein (K&E) re case status                 0.70   Price, Michael
                      and background (.4); draft email update re same
                      (.3).


21243071 11/14/2017   Call with TPG counsel (K&E) re: case status.                  0.50   Raval, Abhilash M.




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                        43466.01500 M&G Creditors Committee - Court Hearings/Communications
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21253951 11/16/2017   Review re PTX versions of transcripts and                      0.20   Thomas, Charmaine
                      revise files re same.


21289229 11/20/2017   Prep for hearing (.5); review objections to UCC                1.70   Doyle, Lauren C.
                      motion to adjourn (.5); correspondence with
                      local counsel re request for hearing (.2);
                      correspondence internally re time needed to
                      adjourn hearing (.5).


21474748 11/21/2017   Telephonically attend hearing re Motion to                     0.70   Doyle, Lauren C.
                      Extend Deadline to Object and DIP Hearing and
                      Bid Procedures Hearing (.7).


21263228 11/21/2017   Prepare for hearing on Committee’s motion to                   2.60   Kopacz, Gregory A.
                      adjourn (1.5); telephonically attend hearing on
                      Committee's motion to adjourn (.4); draft
                      summary of same (.7).


21261372 11/21/2017   Prepare for (.3) and participate on discovery                  1.30   Raval, Abhilash M.
                      hearing re: extension motion (1.0).


21322684 11/30/2017   Corresp. w/ G. Kopacz re 12/1 hearing.                         0.20   Bryan, Jarret J.


21359147 11/30/2017   Multiple corr. w/ litigation and FRG internal                  2.50   Doyle, Lauren C.
                      teams re hearing prep (.4); multiple
                      correspondence with D. O'Donnell re status of
                      documents for second day hearing (1.3); prep
                      for hearing (.8).


21323237 11/30/2017   Prepare for Dec 1 hearing.                                     3.80   Kopacz, Gregory A.




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21282995 11/13/2017   Review DIP financing documents (.4); prepare                   1.70   Price, Michael
                      high level issues list re interim DIP order
                      (1.2); corresp. w/ L. Doyle re same (.1).


21304415 11/14/2017   Conference call w/ Milbank team re: DIP                        0.80   Baharun, Najeh
                      materials.


21292818 11/14/2017   Begin intensive review of DIP motion.                          7.00   Dombroff, Jessica L.


21253829 11/14/2017   Review DIP financing and possible objections re                1.40   Dunne, Dennis F.
                      same.


21292305 11/14/2017   Emails with A. Stone re: case status and DIP                   0.40   Glaser, Emily
                      Motion (.1); review background materials re:
                      same (.3).


21263068 11/14/2017   Prepare (.4) for and attend (.8) call with                     1.20   Kopacz, Gregory A.
                      Milbank team regarding action strategy re DIP
                      items.


21283020 11/14/2017   Internal call with Milbank FRG, finance and                    3.80   Price, Michael
                      litigation re DIP related work streams and next
                      steps regarding same (.8); research motions to
                      extend re DIP (1.0); begin preparing markup of
                      DIP order (2.0).


21243060 11/14/2017   Begin consideration of DIP issues.                             3.00   Raval, Abhilash M.


21429501 11/14/2017   Internal conference call re next steps re DIP                  0.80   Reimer, Eric R.
                      items.


21248574 11/14/2017   Review DIP term sheet and related documents                    1.00   Stern, Brian
                      (.6); corresp. with J. Dombroff regarding same
                      (.4).


21253144 11/14/2017   Attend call with internal team re case                         1.00   Stone, Alan J.
                      background and DIP tasks (.8); review pleadings
                      re same (.2).


21304088 11/15/2017   Review filed DIP documentation.                                1.20   Baharun, Najeh



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21292819 11/15/2017   Review DIP motion and term sheet (6.0); meet                   6.50   Dombroff, Jessica L.
                      with B. Stern re same (.5).


21429507 11/15/2017   Corr. w/ internal finance and litigation teams                 1.50   Doyle, Lauren C.
                      re DIP analysis.


21253858 11/15/2017   Analyze DIP financing (.6); craft objections                   0.90   Dunne, Dennis F.
                      and issues re same (.3).


21292308 11/15/2017   Attend meeting (telephonically) with litigation                0.70   Glaser, Emily
                      team re: work tasks.


21429511 11/15/2017   Review DIP Motion and First Day Pleadings                      8.40   Glaser, Emily
                      (1.3); draft motion for extension of time to
                      file DIP objection (7.1).


21260749 11/15/2017   Meeting w/ internal team re: DIP structure and                 1.70   Kinney, Brian
                      issues (1.2); meeting w/ litigation team re:
                      same (.5)


21283042 11/15/2017   Research motion to extend DIP deadlines (.5);                  1.70   Price, Michael
                      emails with A. Lees and E. Glaser re precedent
                      for same (.1); comment on DIP document and
                      diligence requests (.3); prepare markup of DIP
                      order (.8).


21429796 11/15/2017   Review documents and filings re DIP.                           1.60   Reimer, Eric R.


21248575 11/15/2017   Review DIP term sheet and related documents                    1.10   Stern, Brian
                      (.6); confer with J. Dombroff regarding same
                      (.5).


21253554 11/15/2017   Emails w/A. Raval, A. Lees, L. Doyle re: DIP                   0.50   Stone, Alan J.
                      motion.


21304087 11/16/2017   Prepare diligence request list for DIP.                        0.50   Baharun, Najeh




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21451450 11/16/2017   Revise draft motion for continuation of                        12.10   Burke, James W.
                      hearings on DIP and cash collateral motions and
                      bidding procedures (11.4); confer with E.
                      Glaser regarding potential draft statement in
                      advance of second day hearing (.2); participate
                      in teleconference with L. Doyle regarding draft
                      motion for continuation of hearings (.5).


21430000 11/16/2017   Corr. w/ company and lender advisors re DIP                     2.90   Doyle, Lauren C.
                      extension (.5); internal corr. re Extension
                      Motion (1.0); corr. w/ Company and lender
                      advisors re terms of agreed extension (1.4).


21292659 11/16/2017   Calls with litigation and FRG team re: case                     2.80   Glaser, Emily
                      background, DIP hearing, litigation work
                      streams (.7); review of DIP Motion and First
                      Day Pleadings (1.3); revise motion for
                      extension of time to file DIP objection (.8).


21260759 11/16/2017   Review interim DIP Order (1.8) conf M Price re                  2.10   Kinney, Brian
                      same (.3).


21283213 11/16/2017   Emails with internal team re DIP objection                      3.60   Price, Michael
                      topics and related work streams (.3); continue
                      prep of DIP issues list and objection topics
                      (2.9); meet with B. Kinney re same (.3); update
                      document requests re DIP (.1).


21243074 11/16/2017   Further consider DIP issues.                                    1.00   Raval, Abhilash M.


21246336 11/16/2017   Review diligence re DIP financing (1.6);                        3.00   Reimer, Eric R.
                      comment on pleadings re DIP financing (1.4).


21253971 11/16/2017   Review DIP precedent (.2); distribute DIP                       0.30   Thomas, Charmaine
                      precedent (.1).




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21451465 11/17/2017   Revise draft motion for continuation of                        8.40   Burke, James W.
                      hearings on DIP and cash collateral motions and
                      bidding procedures (3.2); revise draft motion
                      to incorporate comments from L. Doyle and A.
                      Lees (2.1); revise motion to shorten notice and
                      proposed orders (1.5); final revisions to draft
                      motion and emails regarding the same (1.3);
                      confer with financial advisor regarding
                      revisions to draft motion (.3).


21474746 11/17/2017   Negotiate DIP extension with Debtors(1.5);                     5.70   Doyle, Lauren C.
                      revise Motion to Extend DIP/Sales dates (2.9);
                      comment on updated draft of same (.4); prepare
                      same for filing (.4); discuss sensitivity
                      analysis for Motion to extend (.5).


21474747 11/17/2017   Attend call with potential DIP provider re                     2.40   Dunne, Dennis F.
                      diligence and financing. (.7); emails with
                      potential DIP provider re willingness to
                      finance (.4); review alternative DIP term sheet
                      (.2); review priming fight issues and arguments
                      (1.1).


21292660 11/17/2017   Email with J. Burke re: edits to motion to                     3.10   Glaser, Emily
                      adjourn final hearing (.1); edit motion to
                      adjourn final hearing (.7); correspond with
                      Cole Schotz re: research on orders to adjourn
                      hearings (.2); draft statement re: DIP Motion
                      (1.6); call with FRG and litigation re:
                      objection to DIP Motion and statement re DIP
                      Motion, Sale Motion and Cash Collateral Motion
                      (.5).


21260772 11/17/2017   Review alternate DIP term sheet (1.2); review                  3.30   Kinney, Brian
                      supporting documents re: same (.7); revise same
                      (1.4).


21267629 11/17/2017   Review DIP facility motion (.7); emails re                     3.20   O'Donnell, Dennis C.
                      objection to same (.4); review first day
                      declaration re DIP (.7); review capital
                      structure (1.4).




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21283173 11/17/2017   Review motion to extend (.2); emails with team                 6.60   Price, Michael
                      re same (.2); call with Jefferies team and
                      potential alternative DIP provider re proposal
                      and related matters (.8); correspond with team
                      and additional potential alternative DIP
                      provider (.6); compose email update re same for
                      internal team (.4); call with Jefferies team re
                      analysis of DIP scenarios (.6); prep DIP issues
                      list (3.6).


21430202 11/17/2017   Review open DIP issues.                                        1.60   Raval, Abhilash M.


21462901 11/17/2017   Meet with potential alternative DIP provider re                1.00   Raval, Abhilash M.
                      case (1.0).


21254854 11/17/2017   Review (1.0) and comment on (.6) DIP Agreement;                4.50   Reimer, Eric R.
                      attention to collateral issues re same (2.0);
                      review related filings (.9).


21289275 11/18/2017   Call with M. Price re DIP issues (.5); follow                  0.80   Doyle, Lauren C.
                      up emails w/ litigators re Delaware local rules
                      (.2); email re requested extension to Jones Day
                      (.1).


21254139 11/18/2017   Corr. with potential financing source re DIP                   1.40   Dunne, Dennis F.
                      financing alternatives (.5); corr. with
                      additional potential financing source re same
                      (.2); review NDA issues and form (.3); review
                      valuation and cost analyses (.4).


21283337 11/18/2017   Compare final DIP order terms against exhibits                 6.90   Price, Michael
                      to interim documents (1.2); emails with E.
                      Reimer and J. Dombroff re review of final DIP
                      credit agreement (.4); revise DIP issues list
                      to reflect latest proposed documents (1.5);
                      revise proposed DIP order accordingly markup
                      (3.3); call with L. Doyle re: DIP open issues
                      (.5).


21247258 11/18/2017   Consider DIP related discovery (1.2); corr re                  1.90   Raval, Abhilash M.
                      same and scheduling issues (.7).




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21296674 11/18/2017   Review DIP interim order (.7); review DIP term                 2.70   Reimer, Eric R.
                      sheet (1.7); coordinate DIP issues list (.3).


21282639 11/19/2017   Review DIP Interim Order (3.2); and DIP term                   7.70   Dombroff, Jessica L.
                      sheet (1.3) and prepare issues list for
                      possible DIP objection (3.2).


21289317 11/19/2017   Correspondence re proposed extension with Jones                4.10   Doyle, Lauren C.
                      Day (1.5); correspondence internally re
                      extension (.7); correspondence with M. Price re
                      DIP issues (1.2); correspondence with A. Raval
                      re DIP issues (.7).


21292663 11/19/2017   Draft insert for objection to DIP Motion.                      0.50   Glaser, Emily


21299621 11/19/2017   Emails w/ D. Dunne re NDA for potential DIP                    4.80   Price, Michael
                      providers (.2); emails with D. Dunne, A. Raval
                      and L. Doyle re proposed DIP provisions (1.2);
                      review DIP order re same (.2); revise DIP
                      issues list (1.2); revise DIP term sheet (2.0).


21248401 11/19/2017   Consider open DIP issues.                                      1.10   Raval, Abhilash M.


21296675 11/19/2017   Revise markup of DIP order (1.4),                              2.60   Reimer, Eric R.
                      correspondence w/ M. Price and J. Dombroff re
                      DIP issues (1.2).


21304089 11/20/2017   Review revised DIP documentation (1.1); and                    3.10   Baharun, Najeh
                      prepare updated issues list (1.5); email
                      correspondence w/ M. Price and J. Dombroff re
                      same (.5).




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21451116 11/20/2017   Participate in internal teleconference                         5.90   Burke, James W.
                      regarding document review (.3); review
                      responses to motion for continuation of
                      hearings (.5); participate in teleconference
                      with financial advisor regarding strategy for
                      valuation response to DIP motion (.5); internal
                      teleconference regarding follow up on valuation
                      call (.7); meet with E. Glaser regarding
                      preparation for court conference on motion for
                      continuation of hearings (.2); review proposed
                      DIP, and cash collateral relief, including
                      supporting declarations (2.4); email financial
                      advisor requests for work streams related to
                      DIP motion (.3); confer with financial advisor
                      regarding talking points for court conference
                      on motion for continuation of hearings (.3);
                      email A. Stone talking points for court
                      conference on motion for continuation of
                      hearings (.7).


21413248 11/20/2017   Coordinate preparation of formal DIP issues                    0.40   Dombroff, Jessica L.
                      list.


21289237 11/20/2017   Review DIP issues list (.5); meet with internal                1.00   Doyle, Lauren C.
                      team re same (.5).


21258476 11/20/2017   Review status of conversations with various                    0.70   Dunne, Dennis F.
                      prospective DIP lenders.


21292329 11/20/2017   Call with Milbank and Jefferies team re:                       2.00   Glaser, Emily
                      discovery and case strategy (.5); draft insert
                      for objection to DIP motion (1.5).


21281995 11/20/2017   Analyze Debtors' objection to motion to adjourn                4.60   Kopacz, Gregory A.
                      DIP hearing (1.1); analyze DIP lender objection
                      regarding same (.7); review joinders in support
                      of motion (.4); emails to team regarding same
                      (.2); prepare for upcoming hearing on motion to
                      adjourn the DIP hearing (2.2).




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21299629 11/20/2017   Call w/ L. Szlezinger (Jefferies) and J.                       7.40   Price, Michael
                      D'Amico (Jefferies) re discussions with
                      potential alternative DIP provider (.5); follow
                      up call with potential DIP provider (.6);
                      emails w/ J. Dombroff and N. Baharun re DIP
                      issues list comments and review of related
                      documentation (.3); multiple correspondences w/
                      Jefferies team re DIP comps (1.2); email w/ J.
                      Burke re DIP objection outline (.8); coordinate
                      NDA review and execution with multiple
                      interested parties and D. Merrett (Jones Day)
                      (1.7); calls w/ Jefferies and BRG re DIP Budget
                      (.5); review first day hearing transcript in
                      connection with DIP objection (1.0); prepare
                      summary of waterfall and relevant DIP
                      provisions for purposes of telephonic hearing
                      (.8).


21256368 11/20/2017   Evaluate DIP alternatives (5.2); multiple calls                6.00   Raval, Abhilash M.
                      and correspondences w/ committee advisor teams
                      re analysis and review of documents (.8).


21296668 11/20/2017   Review (1.1) and revise (.9) discovery                         2.00   Reimer, Eric R.
                      requests.


21261172 11/20/2017   Analyze DIP Credit Agreement.                                  1.20   Stern, Brian


21277809 11/20/2017   Revise internal files re DIP and cash                          0.50   Thomas, Charmaine
                      collateral filings.


21455924 11/21/2017   Participate in teleconference on motion to                     8.90   Burke, James W.
                      adjourn hearings (.5); review DIP motion and
                      proposed order and outline objection (5.9);
                      review issues list for DIP motion (1.6); confer
                      with M. Price regarding process for drafting
                      objections and strategy for response to DIP
                      motion (.5); draft internal email regarding
                      content of declaration of financial advisor
                      (.4).




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21264077 11/21/2017   Call re potential competing DIP Financing with                 3.40   Doyle, Lauren C.
                      potential alternative DIP provider (.5);
                      multiple follow up emails with internal Team re
                      hearing to extend (1.0); additional corr w/ J.
                      Burke and K. Stickles (Cole Schotz) re
                      deadlines (.7); call with Jefferies and
                      internal team re DIP Objection and work product
                      (.6); email corr. re discovery with A. Lees
                      (.2); review email corr with J. Burke, A. Lees,
                      and M. Price re DIP Objection (.4).


21276235 11/21/2017   Attend call with potential alternative DIP                     1.50   Dunne, Dennis F.
                      provider re DIP financing (.5); corr. with
                      potential DIP providers re same (.2); review
                      term sheets re: sizing/tenor needs (.8).


21292366 11/21/2017   Emails with J. Burke re: DIP Motion objection                  3.40   Glaser, Emily
                      (.1); attending the telephonic hearing on the
                      Motion to Extend (.3); draft insert for the DIP
                      Motion Objection (3.0).


21292617 11/21/2017   Corr. with M. Price and L. Doyle re: DIP                       1.40   Kinney, Brian
                      structuring (1.2); review DIP summary (.2).


21267649 11/21/2017   Review DIP motion issues.                                      1.40   O'Donnell, Dennis C.


21300644 11/21/2017   Prepare for telephonic hearing re DIP issues                   3.90   Price, Michael
                      (.4); call w/ potential lender re DIP
                      alternatives (.5); conf. w/ J. Burke re DIP
                      issues and concerns for objection (.2); emails
                      w/ D. Merrett (Jones Day) re NDAs (.5); draft
                      markup of DIP term sheet for discussions on
                      alternatives (1.3); prepare DIP summary (.9).


21261339 11/21/2017   Craft DIP strategy (1.7); analysis of work                     5.00   Raval, Abhilash M.
                      product re same (3.3).


21296671 11/21/2017   Conference call w/ internal team re committee                  4.50   Reimer, Eric R.
                      objections (.6); conference call w/ potential
                      DIP lender re DIP arrangements (.5); review
                      pleadings (1.8); revise discovery motions
                      (1.6).



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21268004 11/21/2017   Emails with J. Dombroff regarding DIP Credit                   0.40   Stern, Brian
                      Agreement.


21456090 11/22/2017   Outline objection to DIP and cash collateral                   5.50   Burke, James W.
                      motions (2.7); emails with E. Glaser regarding
                      document review protocol for documents related
                      to DIP and cash collateral motions and bidding
                      procedures (.5); participate in internal
                      teleconference regarding strategy for DIP
                      objection (1.0); emails to financial advisors
                      regarding input on depositions and objections
                      (.5); confer with M. Kelly regarding review of
                      term sheets (.3); revise issue tags for
                      document review protocol (.5).


21289331 11/22/2017   Call with potential DIP provider and Jefferies                 1.30   Doyle, Lauren C.
                      (.5); call w/ M. Price and Jefferies re DIP
                      strategy (.8).


21275625 11/22/2017   Review issues re financing alternative DIP                     1.00   Dunne, Dennis F.
                      (.6); review Rothschild view re priming and
                      alternatives (.4).


21462911 11/22/2017   Correspondence with J. Burke re: DIP Motion                    3.00   Glaser, Emily
                      objection (.1). draft insert for the DIP Motion
                      Objection (1.8); conduct research in connection
                      with the DIP Motion Objection relating to
                      waiver of claims (.1); meet with litigation
                      team re: DIP objection (1.0).


21300688 11/22/2017   Call w/ potential DIP lender (.6); revise DIP                  1.70   Price, Michael
                      term sheet (.7); emails w/ A. Raval, L. Doyle
                      and Jefferies team re DIP Budget (.4).


21437421 11/22/2017   Calls with prospective DIP Lenders (1.2);                      2.90   Raval, Abhilash M.
                      revise proposed DIP term sheet (1.5); call with
                      Jones Day re same (.2).


21296673 11/22/2017   Review status of DIP arrangements (1.5);                       2.50   Reimer, Eric R.
                      correspondence w/ internal team re potential
                      DIP financing (1.0).




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21300662 11/23/2017   Emails w/ D. Dunne, A. Raval, and potential DIP                0.90   Price, Michael
                      lenders re open issues (.4); emails w/
                      potential DIP lender and D. Merrett (Jones Day)
                      re diligence issues (.2); revisions to term
                      sheet (.3).


21270864 11/23/2017   Evaluate DIP alternatives (3.8); corr. with                    4.50   Raval, Abhilash M.
                      internal team re same (.7).


21275596 11/24/2017   Confs. with potential DIP financier re DIP                     1.50   Dunne, Dennis F.
                      financing (.3); confs. with L. Szlezinger
                      (Jeffries) re valuation and alternatives (.3);
                      confs. with N. Augustine (Rothschild) re DAK,
                      priming and valuation (.2); review analyses,
                      valuation and materials (.7).


21300697 11/24/2017   Calls w/ alternative DIP providers (.9); review                1.40   Price, Michael
                      Jefferies alternative DIP budget (.3); emails
                      w/ Jefferies team re same (.2).


21270876 11/24/2017   Evaluate DIP and priming issues.                               1.80   Raval, Abhilash M.


21304090 11/25/2017   Email correspondence with team re DIP.                         0.10   Baharun, Najeh


21375226 11/25/2017   Review strategy email from A. Raval (.2);                      4.10   Burke, James W.
                      outline omnibus objection to DIP financing and
                      cash collateral motions (3.9).


21275508 11/25/2017   Review issues list re DIP (0.6); corresp with                  1.10   Dunne, Dennis F.
                      N. Augustine re same (.2); corresp with team re
                      same (.3).


21323448 11/25/2017   Emails with Jefferies team re alternative DIP                  1.30   Price, Michael
                      budget and related documents (.2); follow up
                      emails with E. Reimer and J. Dombroff re same
                      (.3); corresp with J. Dombroff re same (.3);
                      corresp w/ counsel to potential alternative DIP
                      provider re NDA and related issues (.5).


21270879 11/25/2017   Comments to Jefferies re: DIP Budget.                          1.10   Raval, Abhilash M.




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21296669 11/25/2017   Consider potential DIP financing issues.                        1.40   Reimer, Eric R.


21304091 11/26/2017   Attend internal call re DIP.                                    0.70   Baharun, Najeh


21375228 11/26/2017   Continue drafting omnibus objection to DIP                      4.90   Burke, James W.
                      financing and cash collateral motion (4.5);
                      confer with M. Kelly regarding document review
                      process (.4).


21377254 11/26/2017   Correspond with team re DIP matters (1.3); call                 2.00   Dombroff, Jessica L.
                      w/ E. Reimer re status (.7).


21292425 11/26/2017   Internal call w/ E. Reimer re DIP (.7); review                  2.60   Glaser, Emily
                      DIP Credit Agreement (1.9).


21323569 11/26/2017   Coordinate diligence sharing among NDA parties                  0.80   Price, Michael
                      and company (.6); follow up emails with
                      internal team re status of various DIP-related
                      matters (.2).


21296672 11/26/2017   Conference call w/ Milbank DIP team re DIP                      2.20   Reimer, Eric R.
                      arrangements (.7), review DIP credit agreement
                      (1.5).


21304151 11/27/2017   Further revisions to DIP term sheet.                            2.80   Baharun, Najeh


21413856 11/27/2017   Review examination questions from financial                     8.60   Burke, James W.
                      advisor (.3); continue drafting omnibus
                      objection to DIP financing and cash collateral
                      motion (5.7); participate in internal
                      teleconference with litigation team (.4);
                      participate in internal teleconference
                      regarding DIP financing (0.5); internal emails
                      regarding document review (1.3); internal
                      emails regarding sample diligence requests
                      (.2); email financial advisors regarding value
                      of unencumbered assets (.2).


21413251 11/27/2017   Comments on revised DIP term sheet.                             0.20   Dombroff, Jessica L.




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21288166 11/27/2017   Call with Team re litigation strategy re DIP                    2.30   Doyle, Lauren C.
                      (0.5); prepare for same (1.0) call with
                      potential DIP lender re competing DIP (.5);
                      corresp with A. Raval re next steps (.3).


21285915 11/27/2017   Confs. potential DIP provider re competing DIP                  1.20   Dunne, Dennis F.
                      (.5); review status of diligence and term
                      sheets from other possible bidders (.7).


21332792 11/27/2017   Litigation meeting re: DIP discovery.                           0.50   Glaser, Emily


21302898 11/27/2017   Conf. with M. Price re: DIP structure (.3);                     4.20   Kinney, Brian
                      research re adequate protection issues (3.4);
                      conf. with litigation team re: DIP structure
                      (.5).


21299513 11/27/2017   Emails w/ A. Raval, D. Dunne, L. Szlezinger                     2.20   Price, Michael
                      (Jefferies) and L. Doyle re DIP provider
                      inquiries and status of proposals (.2); emails
                      w/ D. Merrett (Jones Day) re NDA comments from
                      interested parties (.1); review NDA comments
                      from such parties (.2); call with potential
                      financing source w/r/t DIP (.4); review D.
                      Galfus (BRG) email re discussion with financial
                      advisor to Inbursa (.1); corresp w/ L. Doyle re
                      same (.2); call w/ L. Doyle, B. Kinney, and lit
                      team re status of DIP-related discovery (.5);
                      conf. w/ B. Kinney re DIP structure (.3).


21296670 11/27/2017   Prepare DIP terms sheets (3.0).                                 3.00   Reimer, Eric R.


21304139 11/28/2017   Prepare DIP term sheet and annexes for                         10.70   Baharun, Najeh
                      alternative DIP (10.2); email correspondence
                      with internal team re same (.5).


21414101 11/28/2017   Emails and calls regarding document review                      9.50   Burke, James W.
                      staffing (.3); draft omnibus objection to DIP
                      financing and cash collateral motion (8.3);
                      internal emails regarding document review (.3);
                      confer with Y. Ayandipo regarding document
                      review (.1); participate in teleconference with
                      Jefferies re declaration (.5).



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21377258 11/28/2017   Review DIP issues list.                                         2.30   Dombroff, Jessica L.


21294825 11/28/2017   Confs. with potential DIP Lender re status of                   1.20   Dunne, Dennis F.
                      alternative proposal (.3); review reasons for
                      exiting and ability to address same (.4);
                      review status of additional potential DIP
                      Lender discussions (.2); review Counsel’s
                      questions and likely answers re same (.3).


21302933 11/28/2017   Conf. with M. Price and E. Reimer re: DIP (.3);                 0.50   Kinney, Brian
                      conf. with Jefferies team re: same (.2).


21324257 11/28/2017   Call w/ potential DIP lender re DIP financing                   5.90   Price, Michael
                      process and alternatives (.5); meet with E.
                      Reimer and B. Kinney re same (.3); follow up
                      emails with D. Dunne, A. Raval and Jefferies
                      team re same (.7); call with E. Reimer and
                      Jefferies team re same (.5); multiple
                      correspondence with Jefferies team re DIP
                      budgeting issues (1.3); analyze potential
                      adequate protection constructs based on
                      precedent (2.2); emails w/ A. Raval and L.
                      Doyle re same (.2); emails w/ D. Merrett (Jones
                      Day) re status of NDAs (.2).


21445759 11/28/2017   Attend to various matters related to competing                  1.80   Raval, Abhilash M.
                      DIP (.8); review proposed revised DIP budget
                      for competing DIP (1.0).


21303324 11/28/2017   Correspondence w/ Jefferies team re DIP                         4.60   Reimer, Eric R.
                      proposal (1.0); conference with B. Kinney and
                      M. Price re same (.3); consider DIP issues
                      (2.0); attend to discovery issues (1.3).


21303623 11/28/2017   Correspondence with team regarding DIP                          1.50   Stern, Brian
                      financing (1); corresp with J. Dombroff
                      regarding same (.5).


21304170 11/29/2017   Continue drafting alternative DIP term sheet,                  11.70   Baharun, Najeh
                      annexes and intercompany note (11.2); email
                      correspondence with finance team re same (.5).




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21414201 11/29/2017   Draft omnibus objection to DIP financing and                   7.70   Burke, James W.
                      cash collateral motion (6.6); confer with A.
                      Stone and A. Lees regarding preparation for
                      depositions (.3); review key documents list
                      (.2); emails regarding document review progress
                      (.2); teleconference with B. Kinney and M.
                      Price regarding strategy for objection (.4).


21331665 11/29/2017   Revise competing DIP term sheet (5.1); conf. M.                6.20   Dombroff, Jessica L.
                      Price re same (1.1).


21359032 11/29/2017   Call with L. Szlenzinger (Jefferies) re                        1.00   Doyle, Lauren C.
                      valuation analysis.


21302961 11/29/2017   Conf. Jefferies and BRG teams re: Adequate                     3.30   Kinney, Brian
                      Protection and cash needs (1.0); conf. J. Burke
                      and M. Price re: evidentiary needs for DIP
                      Objection (.4); review DIP term sheet (1.4);
                      revise said term sheet (.5).


21322713 11/29/2017   Pull and circulate final DIP orders in                         0.50   Mardeusz, Julia I.
                      precedent cases to team.


21333885 11/29/2017   Corresp w/ D. Merrett (Jones Day) and potential                4.30   Price, Michael
                      DIP lenders re NDAs and diligence access (.2);
                      call w/ J. Dombroff re DIP TS markup (1.1);
                      follow up emails w. L. Doyle re same (.2);
                      prepare DIP budget assumptions (.4); corresp.
                      w/ Jefferies and BRG teams re same (.2); call
                      w/ D. Galfus (BRG) and L. Szlezinger
                      (Jefferies) re valuation scenarios and AP
                      implications (.7); emails w/ L. Szlezinger re
                      same (.3); conf. w/ internal team re DIP
                      objection (.4); corresp. w/ A. Lees and J.
                      Burke re DIP discovery and related matters
                      (.5); review draft document requests in
                      connection with same (.3).


21303313 11/29/2017   Revise DIP term sheet (1.4); conferences re DIP                2.00   Reimer, Eric R.
                      proposal (.6).


21303302 11/29/2017   Review DIP term sheet.                                         0.60   Stern, Brian



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21320852 11/29/2017   Review DIP Motion (2.8) and Interim DIP Order                   4.80   Zucco, Brian
                      (2.0).


21304243 11/30/2017   Attend internal meeting re DIP term sheet with                  2.40   Baharun, Najeh
                      E. Reimer (.6); prepared dip term sheet and
                      annexes (1.4); email correspondence re same
                      (.4).


21322680 11/30/2017   Retrieve precedent DIP documents (.5);circulate                 0.70   Bryan, Jarret J.
                      same (.2).


21450142 11/30/2017   Draft omnibus objection to DIP financing and                   11.80   Burke, James W.
                      cash collateral motion (9.4); participate in
                      teleconference with Jefferies and internal
                      group regarding deposition preparation (2.0);
                      confer with A. Lees regarding follow up from
                      teleconference regarding credit bidding (.4).


21331760 11/30/2017   Further revisions to competing DIP term sheet                   6.00   Dombroff, Jessica L.
                      based on comments from E. Reimer.


21359079 11/30/2017   Correspondence with A. Raval & D. Dunne re DIP                  1.30   Doyle, Lauren C.
                      status and thoughts re same (.7);
                      correspondence re production/hot documents w/
                      M. Price and A. Raval (.6).


21327068 11/30/2017   Review status of diligence by potential DIP                     1.20   Dunne, Dennis F.
                      Lender (0.4); review issues raised by other
                      possible DIP lenders (0.5); review list of
                      Inbursa issues (0.3).


21332872 11/30/2017   Summarize key documents for deposition                          8.10   Glaser, Emily
                      preparation (.3); draft deposition outline for
                      deposition of Debtors (5.5); analyze documents
                      produced to support issues raised in objection
                      to DIP motion (2.0); correspond with litigation
                      team re: analysis of incoming document review
                      (.3).


21346734 11/30/2017   Call with litigation team re: deposition prep                   3.20   Kinney, Brian
                      (1.7); review 30(b)(6) requests (.7); comments
                      to same (.8).


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21333904 11/30/2017   Review revised DIP budget analysis from                        4.00   Price, Michael
                      Jefferies (.3); review DIP hot docs summary
                      (.3) and corresp. re same with L. Doyle (.1);
                      corresp w/ E. Glaser re DIP depo schedules
                      (.1); review interrogatories (.2); emails w/ A.
                      Raval re valuation assumptions for purposes of
                      AP (.2); corresp. w. L. Doyle and B. Kinney to
                      discuss DIP scenarios (.7); call w. Jefferies,
                      BRG and Milbank teams re DIP Budget and
                      Valuation scenarios (1.0); review Chemtex lien
                      structure (.2); emails w. TX counsel re mech
                      lien query (.3); review DIP issues list (.3)
                      call w. counsel to alt DIP provider (.3).


21303054 11/30/2017   Call with Jefferies on DIP Issues, valuation                   1.00   Raval, Abhilash M.
                      issues; (.2); internal calls/meetings re: same
                      (.4); corr/next steps re: same (.4).


21304292 11/30/2017   Revise DIP term sheet (1.8), meet with N.                      2.40   Reimer, Eric R.
                      Baharun re same (.6)


21304649 11/30/2017   Review DIP term sheet (2.0); correspond with J.                2.70   Stern, Brian
                      Dombroff and N. Baharun regarding same (.7).


21320863 11/30/2017   Review comments to proposed Final DIP Order                    6.90   Zucco, Brian
                      (2.1); revise Final DIP Order (4.8).




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21372259 11/28/2017   Review KEIP/KERP presentations.                               0.40   Doyle, Lauren C.


21324256 11/28/2017   Call w/ D. Galfus (BRG) re KEIP/KERP (.4);                    0.60   Price, Michael
                      emails with internal team re same (.2).


21359035 11/29/2017   Call re KEIP/KERP with BRG.                                   0.40   Doyle, Lauren C.


21446060 11/30/2017   Emails w/ BRG and L. Doyle re revised KEIP                    0.50   Price, Michael
                      proposal (.3); emails w/ L. Doyle re responses
                      to co-chair queries (.2).




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21261582 11/15/2017   Emails with G. Kopacz re potential                              0.60   Ahrens, Matthew
                      environmental liabilities (.2); review
                      background material (.4).


21261587 11/16/2017   Emails with G. Kopacz re environmental issues                   1.10   Ahrens, Matthew
                      (.2); review background material (.2); review
                      data room materials (.7).


21289141 11/20/2017   Phone call with L. Hall re: review of diligence                 1.10   Ahrens, Matthew
                      documents (.3); review environmental documents
                      in data room (.7); phone calls with G. Kopacz
                      re general case issues (.1).


21267846 11/20/2017   Call with M. Ahrens re environmental diligence                  4.80   Hall, Lindsay E.
                      (0.3); review datasite documents for
                      environmental diligence (4.1); prepare summary
                      of issues and questions re datasite review
                      (0.4).


21289142 11/21/2017   Review environmental issues summary.                            0.30   Ahrens, Matthew


21290117 11/22/2017   Correspondence with L. Hall re environmental                    0.40   Ahrens, Matthew
                      diligence matters (.2); revise environmental
                      diligence questions (.2).


21270848 11/22/2017   Review datasite documents (.5); prepare                         0.80   Hall, Lindsay E.
                      follow-up diligence questions (.1); correspond
                      with M. Ahrens and deal team re same (.2).


21330699 11/28/2017   Corres.with L. Hall and G. Kopacz re                            3.10   Ahrens, Matthew
                      environmental summary and due diligence
                      questions (.6); draft environmental summary and
                      due diligence questions (1.6); review
                      environmental documents in data room (.9).


21295472 11/28/2017   Correspondence with M. Ahrens and G. Kopacz re                  2.00   Hall, Lindsay E.
                      environmental diligence (0.6); prepare
                      diligence summaries and follow-up diligence
                      questions (1.2); review datasite for
                      environmental/permitting documents (0.2).




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21330740 11/29/2017   Emails with team re environmental issues and re               0.20   Ahrens, Matthew
                      environmental call with Jones Day.


21323628 11/29/2017   Correspondence to M. Ahrens and debtors'                      0.30   Kopacz, Gregory A.
                      counsel regarding environmental diligence.




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21263050 11/13/2017   Prepare calendar of upcoming deadlines and                      2.20   Kopacz, Gregory A.
                      hearings.


21263198 11/15/2017   Update case calendar.                                           0.80   Kopacz, Gregory A.


21255411 11/16/2017   Update internal distribution lists (.5);                        0.70   Bryan, Jarret J.
                      corresps. w/ G. Kopacz re same (.2).


21263330 11/16/2017   Update case calendar re objection deadlines and                 1.90   Kopacz, Gregory A.
                      upcoming hearing dates.


21253972 11/16/2017   Review (.5) and distribute (.1) case motions                    0.60   Thomas, Charmaine
                      objection deadlines and hearing dates.


21255366 11/17/2017   Update internal distribution lists (1.2);                       1.50   Bryan, Jarret J.
                      corresp. w/ internal team re same (.3).


21255378 11/17/2017   Attend to connections issues.                                   0.20   Bryan, Jarret J.


21263457 11/21/2017   Update case calendar.                                           0.60   Kopacz, Gregory A.


21289953 11/22/2017   Update internal distribution lists (.2); update                 1.50   Bryan, Jarret J.
                      roll call (1.0); corresp. w/ G. Kopacz re same
                      (.3).


21276692 11/22/2017   Update WGL (.2); review dataroom for recent                     0.30   Eskin, Emily Rose
                      uploads (.1).


21277858 11/22/2017   Update internal files to account for filed                      0.30   Thomas, Charmaine
                      pleadings and new discovery files.


21282356 11/24/2017   Update case calendar.                                           0.30   Kopacz, Gregory A.


21326457 11/27/2017   Update working group list.                                      0.50   Eskin, Emily Rose


21323646 11/27/2017   Update case calendar.                                           0.10   Kopacz, Gregory A.


21323627 11/29/2017   Update case calendar.                                           0.20   Kopacz, Gregory A.




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21327866 11/30/2017   Review case files.                                            0.10   Thomas, Charmaine




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21264089 11/13/2017   Meeting re next steps with A. Raval (1.7);                      2.00   Doyle, Lauren C.
                      coordinate assignments (.3).


21263410 11/13/2017   Begin draft of Committee working group list.                    0.70   Kopacz, Gregory A.


21267069 11/13/2017   Review DIP motion and first day declaration                     6.20   O'Donnell, Dennis C.
                      (4.8); review advisor financial materials
                      (1.4).


21283154 11/13/2017   Coordinate kickoff calls with advisors to the                   0.80   Price, Michael
                      Committee (.3); prepare supplement to working
                      draft of task list including additional day one
                      items (.2); correspondence with internal team
                      re same (.3).


21474749 11/13/2017   Begin review of company diligence materials                     8.70   Raval, Abhilash M.
                      (6.0); meeting with L Doyle on immediate action
                      items (1.7); multiple emails w/ internal team
                      re same (1.0).


21429189 11/14/2017   Prepare distribution lists for attorney use                     1.10   Bryan, Jarret J.
                      (1.1).


21474750 11/14/2017   Prepare initial case issues/task list (5.0);                    9.00   Doyle, Lauren C.
                      attend to Mechanic lien request (.3); review
                      Milbank Pro Hacs and NOA (.5); corresp. re
                      review of first day motions (1.0); coordinate
                      call with Committee for 11/15 and call with
                      Committee for 11/16 (1.5); review committee
                      minutes and notes re same (.7).


21254724 11/14/2017   Draft working group list (4.0); correspond with                 8.00   Eskin, Emily Rose
                      G. Kopacz re same (1.0); update same (1.0);
                      organize first day orders and motions for
                      binder (1.0); draft index for same (0.7);
                      coordinate production of same (0.3).


21263086 11/14/2017   Prepare working group list for Committee                        2.30   Kopacz, Gregory A.
                      members and their advisors.




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21254818 11/14/2017   Coordinate standing order for transcripts (.1);                 1.10   Mardeusz, Julia I.
                      create email distribution lists for committee
                      professionals (1.0).


21429212 11/14/2017   Review background materials and filed pleadings                 3.20   O'Donnell, Dennis C.
                      (3.2).


21283018 11/14/2017   Corresp. w/ D. Dunne and A. Raval re launch of                  2.20   Price, Michael
                      creditor information website (.2); prepare
                      draft agenda for Committee call (.2); revise
                      draft agenda (.2); arrange for dial-in numbers
                      for Committee calls (.3); emails with G. Kopacz
                      re same (.1); review NOA parties (.2); revise
                      working group list accordingly (.1); emails
                      with G. Kopacz re same (.2); coordinate re
                      in-person kickoff meeting between Committee
                      advisors and company advisors (.4);
                      preparations for meeting (.3).


21243061 11/14/2017   Review initial case issues list.                                3.60   Raval, Abhilash M.


21429502 11/14/2017   Review filings, documents, etc re background.                   3.70   Reimer, Eric R.


21247070 11/14/2017   Draft pro hacs and notice of appearance. (1.2);                 1.60   Springer, Paul J.
                      correspondence w/ L. Doyle and M. Price re:
                      same (.4).


21253147 11/14/2017   Review first day papers.                                        2.50   Stone, Alan J.


21255405 11/15/2017   Corresps.w/ G. Kopacz re internal distribution                  0.70   Bryan, Jarret J.
                      lists (.3).


21254784 11/15/2017   Update working group list (4.0); corresp with                   5.70   Eskin, Emily Rose
                      G. Kopacz and L. Doyle re same (0.5); corresp
                      with Word Processing re same (1.0); coordinate
                      print of additional first day binder (.2).




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21255236 11/15/2017   Create ECF notifications alerts for internal                   6.00   Mardeusz, Julia I.
                      team (.2); organize materials for binders re
                      firm connections (2.4); create indexes of same
                      (.3); coordinate with duplicating re production
                      of same (.3); deliver same to team members
                      (.1); organize materials for first-day
                      documents binder (1); input edits to roll call
                      (1.2); multiple corresp. w/ G. Kopacz re same
                      (.5).


21246369 11/15/2017   Review first day pleadings (.8); corresp. w/ L.                1.10   Price, Craig Michael
                      Doyle and D. O’Donnell re first day pleadings
                      (.3).


21245018 11/15/2017   Correspond with L. Doyle re background on                      0.30   Schaeffer, Fiona
                      matter.


21247075 11/15/2017   Revise internal task list (1.0); coordinate                    1.50   Springer, Paul J.
                      obtaining access to dataroom for committee
                      professionals (.5).


21264136 11/16/2017   Review applicable UST guidelines (1.7); review                 2.00   Doyle, Lauren C.
                      internal case memo (.3).


21254921 11/16/2017   Update working group list (.8); download                       2.80   Eskin, Emily Rose
                      dataroom documents to internal drive (2.0).


21253665 11/16/2017   Print copy of docket for internal team (.2);                   2.40   Mardeusz, Julia I.
                      Organize materials for binders w/ entity
                      search results (1.5); draft indices for same
                      (.5); coordinate with duplicating re production
                      of same (.2).


21283083 11/16/2017   Review team task list and action items (1.0);                  1.50   Price, Michael
                      revisions to WGL (.2); emails with internal
                      team re same (.3).


21247108 11/16/2017   Prepare email list for internal team members                   1.00   Springer, Paul J.
                      (.6); update internal task list (.4).




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21247182 11/16/2017   Draft memo re local rules and guidelines (1.0);                1.10   Springer, Paul J.
                      circulate same to internal team (.1).


21264104 11/17/2017   Corr. with internal FRG team re first day                      1.90   Doyle, Lauren C.
                      objections and filings (.6).review and revise
                      first day memo (1.0); discuss email to UCC re
                      emergency motion (.3).


21254844 11/17/2017   Assemble pleadings binder (1.0); coordinate                    5.20   Eskin, Emily Rose
                      print and delivery of same (0.5); update
                      working group list (3.5); corresp with team re
                      same (.2).


21283174 11/17/2017   Emails with team re revisions to WGL.                          0.20   Price, Michael


21289269 11/18/2017   Review second day memo (1.5); review email                     2.20   Doyle, Lauren C.
                      correspondence re case status (.7).


21289219 11/20/2017   Correspondence w/ Jones Day re lienholder bar                  1.80   Doyle, Lauren C.
                      date motion (.2); correspondence internally re
                      comments to cash management (.2); review
                      changes to second day memo (.5); prepare email
                      re changes to first day orders with Jones Day
                      (.7); correspondence re D&O policies with A.
                      Lees & A. Stone (.2).


21299632 11/20/2017   Prepare agenda for Committee call (.2);                        0.60   Price, Michael
                      Correspondence with Committee advisor teams
                      (Milbank, BRG, Jefferies, and Cole Schotz) re
                      same (.4).


21264078 11/21/2017   Team Meeting re Task List.                                     1.00   Doyle, Lauren C.


21263291 11/21/2017   Prepare for meeting with advisors (.3); attend                 1.30   Kopacz, Gregory A.
                      said meeting with advisors regarding case
                      strategy and next steps (1.0).


21267646 11/21/2017   Participate in task list meeting with team.                    1.00   O'Donnell, Dennis C.




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21300650 11/21/2017   Revisions to team task list (.2); corresp. w/                  1.10   Price, Michael
                      internal team re task list (.3); multiple
                      emails w/ P. Springer and A. Miller re access
                      to electronic files and review system for same
                      (.6).


21462888 11/21/2017   Internal team meeting re task list and                         1.30   Springer, Paul J.
                      assignments (1.0); update internal task list
                      (.3).


21289547 11/22/2017   Correspondence / G. Kopacz re WGL (.2); review                 2.10   Doyle, Lauren C.
                      lienholder group objection, multiple task list
                      meetings w/ internal team (1.0); correspondence
                      with team and A. Raval re interim comp
                      procedures order (.5); call with local counsel
                      re objections to cash management & A&M (.4).


21407191 11/22/2017   Review revised task list (.7) revise same (.5).                1.20   O'Donnell, Dennis C.


21300691 11/22/2017   Emails w/ L. Doyle and D. O'Donnell re                         2.10   Price, Michael
                      workstreams and staffing (.2); review task list
                      and revise same (.4); team meetings re admin
                      matters (1.5).


21437422 11/22/2017   Evaluate open issues.                                          1.10   Raval, Abhilash M.


21289285 11/23/2017   General internal correspondence w/ FRG team re                 0.50   Doyle, Lauren C.
                      open matters (.3); review open matters list
                      (.2).


21270867 11/23/2017   Review case status (.8); draft memo to D. Dunne                1.60   Raval, Abhilash M.
                      re open issues (.8).


21288207 11/24/2017   Correspondence w/ internal FRG team re next                    1.30   Doyle, Lauren C.
                      steps (.3); revise task list (1.0).


21270875 11/24/2017   Consider open issues and next steps.                           0.90   Raval, Abhilash M.


21270878 11/25/2017   Prepare internal memo re next steps and open                   2.10   Raval, Abhilash M.
                      issues




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21288212 11/26/2017   Email correspondence with M. Price re case                      1.50   Doyle, Lauren C.
                      strategy and next steps.


21283181 11/26/2017   Consider next steps re pending items.                           1.20   Raval, Abhilash M.


21299487 11/27/2017   Emails w/ potential information agent to host                   1.10   Price, Michael
                      Committee website (.4); follow up call w/
                      potential information agent re same (.3);
                      update task list (.2); emails w/ G. Kopacz and
                      D. O'Donnell re scheduling matters (.2).


21283167 11/27/2017   Correspondence with team on various open points                 2.60   Raval, Abhilash M.
                      (1); internal meeting with L. Doyle re next
                      steps (.8); consider second day hearing issues
                      (1).


21358147 11/28/2017   Correspondence with D. O'Donnell re changes to                  2.40   Doyle, Lauren C.
                      interim compensation order (.4); correspondence
                      with internal FRG team re matters for Dec 1.
                      hearing (2.0).


21324279 11/28/2017   Emails for proposals from Committee website                     0.50   Price, Michael
                      providers (.3); follow up correspondence w/ L.
                      Doyle re status of proposals (.1); emails w/ L.
                      Doyle re timing for filing of retention
                      documents generally (.1).


21359021 11/29/2017   Correspondence re interim compensation                          1.10   Doyle, Lauren C.
                      procedures (.7); multiple correspondence with
                      M. Price, B. Kinney and A. Raval re interim
                      compensation order (.4).


21322826 11/29/2017   Update Working Group List per edits from team                   0.30   Mardeusz, Julia I.
                      (.2); circulate to same (.1).


21333889 11/29/2017   Attend team task list meeting (partial) (.4);                   0.70   Price, Michael
                      emails w L. Doyle re action items (.3).


21295506 11/29/2017   Evaluate status of open issues.                                 1.10   Raval, Abhilash M.




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21311572 11/29/2017   Internal team meeting re task list (.5);                       0.70   Springer, Paul J.
                      coordinate English translation of Italian
                      insurance policies (.2).


21323225 11/29/2017   Review proposed final orders (.3); redline same                0.80   Thomas, Charmaine
                      (.5).


21320843 11/29/2017   Team meeting re workstreams.                                   0.50   Zucco, Brian


21359094 11/30/2017   Multiple correspondence w/ BRG re IP issues                    2.30   Doyle, Lauren C.
                      (.3); correspondence w/ internal FRG team re
                      work streams and task list (2.0).


21327065 11/30/2017   Confs. with S. Greenberg (Jones Day) re OCP                    0.60   Dunne, Dennis F.
                      order (0.2); review matters on for Dec 1
                      hearing and resolution of same (0.4).


21323742 11/30/2017   Review certifications of counsel and other                     1.10   Kopacz, Gregory A.
                      final orders filed by the Debtors.


21328269 11/30/2017   Communications with L. Doyle re hearing for                    1.70   O'Donnell, Dennis C.
                      retention app (.6); emails re same (.4);
                      additional calls with L. Doyle re hearing dates
                      in Delaware (.7).


21333908 11/30/2017   Calls w/ website providers re quote for cmte                   0.20   Price, Michael
                      website.


21304307 11/30/2017   Corr. with internal team re open issues.                       0.50   Raval, Abhilash M.




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21243057 11/13/2017   Consider potential discovery candidates and                    1.80   Raval, Abhilash M.
                      issues.


21246918 11/13/2017   Review first day declaration and associated                    0.60   Springer, Paul J.
                      materials.


21253107 11/13/2017   Review background materials.                                   1.00   Stone, Alan J.


21263128 11/14/2017   Review Debtors' first day filings (1.6);                       5.90   Kopacz, Gregory A.
                      conduct analysis regarding same (3.1); review
                      first day hearing transcript (1.2)


21283016 11/14/2017   Call with Milbank and BRG teams (.5); follow up                0.70   Price, Michael
                      emails internally re same (.2).


21247071 11/14/2017   Internal team meetings re task lists (1.4);                    2.70   Springer, Paul J.
                      review background materials on Debtors (1.3).


21253146 11/14/2017   Attend call w/BRG re case background.                          0.50   Stone, Alan J.


21263461 11/15/2017   Review presentation materials provided by the                  2.80   Kopacz, Gregory A.
                      Debtors.


21283111 11/15/2017   Emails with L. Doyle and P. Springer re                        0.30   Price, Michael
                      diligence items.


21243073 11/16/2017   Evaluate proper next steps concerning open                     4.00   Raval, Abhilash M.
                      issue (2.4); review issues list re same (1.6).


21243086 11/16/2017   Further consider of discovery candidates.                      0.70   Raval, Abhilash M.


21247183 11/16/2017   Review materials included in data room.                        0.80   Springer, Paul J.


21430025 11/17/2017   Corr. w/ internal team regarding open issues                   1.80   Raval, Abhilash M.
                      (.9); further corresp. w/ committee advisors re
                      open issues (.9).


21247630 11/19/2017   Attend to corr. w/ advisors re open issues.                    0.20   Raval, Abhilash M.




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21264210 11/21/2017   Meet with internal team re task list and case                  1.10   Miller, Alexander E.
                      strategy.


21268095 11/22/2017   Calls with Jefferies re status of case matters                 1.90   Raval, Abhilash M.
                      (.9); emails to internal team re status of case
                      matters (1.0).


21289545 11/25/2017   Email correspondence with A. Raval re case                     0.70   Doyle, Lauren C.
                      status (.5); email correspondence with D. Dunne
                      re next steps on sale process (.2).


21445206 11/27/2017   Email L. Doyle re: Interim Comp, Utilities, and                0.70   O'Donnell, Dennis C.
                      Cash Management Orders (.7).


21311556 11/27/2017   Correspondence with team re changes to first                   0.30   Springer, Paul J.
                      day pleadings.


21465314 11/28/2017   Email corr. w/ internal FRG team re general                    0.70   Doyle, Lauren C.
                      case strategy.


21446050 11/29/2017   Review discovery materials                                     0.90   Reimer, Eric R.


21446178 11/30/2017   Evaluate next steps (1.2).                                     1.20   Raval, Abhilash M.




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21299644 11/20/2017   Review email and attachments from C. Black                   0.30   Price, Michael
                      (Jones Day) re insurance policies.




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21299490 11/27/2017   Review M&G parent financial statements and                     1.60   Price, Michael
                      summary of same (.9); comment on BRG notes and
                      observations re same (.5); call with D. Galfus
                      (BRG) re same (.2).


21324280 11/28/2017   Draft email re financial reports of Italian                    1.10   Price, Michael
                      parent (.4); review translation of same (.5);
                      call with D. Galfus (BRG) re same (.2).




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21283109 11/15/2017   Emails with Italian counsel re recent                           0.50   Price, Michael
                      financials (.2); call with G. Carrello (Gattai)
                      re process and administrative matters (.3).


21464292 11/16/2017   Emails to Italian counsel regarding upcoming                    0.30   Kopacz, Gregory A.
                      Committee meeting (.3).


21283085 11/16/2017   Call with Gattai re work streams and non-U.S.                   0.80   Price, Michael
                      issues (.6); emails with A. Raval re same (.2).


21464295 11/20/2017   Correspondence with Italian counsel re status                   0.50   Doyle, Lauren C.
                      in Italy (.5).


21299631 11/20/2017   Review slides from Gattai re Italian                            0.90   Price, Michael
                      restructuring.


21264076 11/21/2017   Call with S. Mehta, M. Price and G. Carrello                    0.60   Doyle, Lauren C.
                      (Gattai) to discuss committee call (.5); corr.
                      w/ S. Mehta, M. Price, and G. Carrello (Gattai)
                      re same (.1).


21300648 11/21/2017   Call w/ L. Doyle, S. Mehta and G. Carrello                      0.50   Price, Michael
                      (Gattai) re presentation to Committee re
                      Italian restructuring issues.




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21260182 11/14/2017   Initial case meeting with internal team (.4);                   2.50   Kelly, Maxwell H.
                      fact research on parties in DIP order (2.1).


21429211 11/14/2017   Emails w/ A. Stone re case updates (.4); review                 1.50   Lees, Alexander
                      first day pleadings and background information
                      (1.1).


21453652 11/15/2017   Participate in internal litigation team meeting                 3.40   Burke, James W.
                      regarding case background (.7); review first
                      day declaration and discussion materials (2.7).


21429508 11/15/2017   Corr. w/ internal litigation team re discovery.                 0.50   Doyle, Lauren C.


21260186 11/15/2017   Background task meeting with litigation team                    5.10   Kelly, Maxwell H.
                      (.7); diligence parties in DIP order (2.0);
                      assist in preparation of document requests
                      (.3); emails re research on SEC filings with
                      library staff (.3); review company presentation
                      to unsecured creditors (.1); review motion and
                      interim order for debtor in possession loan
                      (1.5); review agenda for meeting between debtor
                      and unsecured creditors (.2).


21429512 11/15/2017   Attend litigation meeting re case updates (.7);                 3.50   Lees, Alexander
                      emails re same (.1); review first-day
                      pleadings (.8); revise motion to extend time
                      (.4); emails with team re case updates (.4);
                      attend to discovery requests to debtors (1.1).


21260758 11/15/2017   Background meeting with internal litigation                     3.50   Lowy, Jenna A.
                      team (.7); review background material (.6);
                      draft Document Requests for Inbursa and DAK
                      (2.3).


21462890 11/15/2017   Attend meeting w/litigation team re: DIP and                    1.20   Stone, Alan J.
                      sale objections (.7); conduct informal document
                      requests for DIP and sale objections (.5).


21462869 11/16/2017   Discuss discovery issues w/ litigation team.                    0.40   Doyle, Lauren C.




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21256088 11/16/2017   Review discovery requests and production                       3.70   Grabysz, Marcin
                      (1.5); prepare upload of the documents for
                      attorney review (1.0); review Document Request
                      Specifications (1.2).


21269368 11/16/2017   Meeting with litigation team to discuss case.                  0.30   Hooks, Daniel C.


21260194 11/16/2017   Onboard legal assistants and litigation                        2.00   Kelly, Maxwell H.
                      technology specialist (.3); set up shared
                      document database (.4); obtain cost estimates
                      for translation services (.2); review results
                      of fact research in support of Committee
                      objections. (1.1).


21430004 11/16/2017   Revise motion to extend time (.4); prepare                     5.00   Lees, Alexander
                      discovery requests to debtors (3.6); meet with
                      A. Stone re discovery (.5); calls with
                      financial advisors re discovery (.5).


21260757 11/16/2017   Revise document requests (3.2); correspondence                 4.10   Lowy, Jenna A.
                      w/ A. Lees re: document requests (.9).


21255243 11/16/2017   Provide litigation technology and discovery                    4.50   Seegopaul, Brijranie Nelly E.
                      support (3.9); multiple corresp w./ M. Kelly,
                      internal team re same (.6)


21430017 11/16/2017   Review internal doc requests (.2); meet. w/ A.                 3.20   Stone, Alan J.
                      Lees re discovery (.5); emails w/ internal team
                      re discovery and schedules (.5); review
                      bidding procedures motion (2.0).


21255369 11/17/2017   Coordinate setup of FTP site re discovery (.4).                0.40   Bryan, Jarret J.


21255189 11/17/2017   Update discovery database (5.5); correspond                    6.00   Chandani, Sachin
                      with litigation team re same (.5).


21255426 11/17/2017   Review discovery documents (0.8); transfer                     2.30   Grabysz, Marcin
                      digital copies of documents to Milbank's
                      document repository for attorney review (1.0);
                      review hearing transcript (0.5).




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21260209 11/17/2017   Prepare deposition notices for Inbursa and DAK                 5.30   Kelly, Maxwell H.
                      (3.4); serve said notices (.6); assist with
                      drafts of document requests (.2); review of
                      first document production from debtors (1.1).


21430019 11/17/2017   Revise discovery requests to Inbursa and DAK                   6.90   Lees, Alexander
                      (5.8); review motion to extend time (1.1).


21260763 11/17/2017   Finalize Document Requests.                                    1.50   Lowy, Jenna A.


21430203 11/17/2017   Emails w/ team re: DIP (.5); attend to                         2.00   Stone, Alan J.
                      30(b)(6) notices (.3); emails re discovery
                      (.2); emails re motion for an extension (.5);
                      review same (.5).


21255207 11/18/2017   Continue to monitor, perform imaging of files                  2.30   Chandani, Sachin
                      to ensure consistency and maintain quality
                      checks.


21436506 11/18/2017   Meet with debtors’ counsel and internal team re                0.60   Lees, Alexander
                      discovery (.4); emails w/ committee advisors re
                      case strategy (.2).


21259941 11/18/2017   Meet with D. Merrett (Jones Day), R. Faxon                     0.60   Lowy, Jenna A.
                      (Jones Day), and Milbank litigation team re:
                      document production (.4); correspond with A.
                      Lees re: review of debtor's production (.2).


21436507 11/18/2017   Call w/Debtors re: discovery (.5); emails w. A.                0.90   Stone, Alan J.
                      Raval re same (.2); review issues list (.2).


21255208 11/19/2017   Download and extraction to Milbank systems new                 6.20   Chandani, Sachin
                      dataroom documents related to M&G diligence
                      (0.7); ingestion and processing of the same
                      (2.0); perform quality checks (.7); OCR on
                      documents and set up for exports (1.0); load to
                      relativity and perform indexing to make search
                      able(1.1); set up of imaging and monitor of the
                      same (0.7).




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21255295 11/19/2017   Review documents located on the DataSite                       5.30   Grabysz, Marcin
                      Project Dawn 2014 (0.8); prepare responsive
                      documents for transfer to Milbank's on-line
                      repository for attorney review (1.0);
                      coordinate transfer of documents to Milbank's
                      on-line repository (0.5); prepare specialized
                      searches for documents related to Data Room 1
                      (0.5); prepare batches of document for attorney
                      review (1.2); update and organize coding panel
                      as requested to facilitate efficient document
                      review (1.3).


21266806 11/19/2017   Coordinate upload of second and third data                     1.40   Kelly, Maxwell H.
                      rooms produced by debtors to discovery database
                      (.2); establishment of coding and issue tagging
                      system (.2); review of first set of documents
                      produced by debtors (1).


21258057 11/19/2017   Emails w/ Committee advisors re open discovery                 0.40   Lees, Alexander
                      issues.


21259948 11/19/2017   Review documents produced by debtor.                           6.10   Lowy, Jenna A.


21436509 11/19/2017   Attend to emails re open case issues (.2);                     0.70   Stone, Alan J.
                      emails re: motion to extend w/ A. Raval, L.
                      Doyle, A. Lees (.5).


21451289 11/20/2017   Internal email regarding meeting minutes (.1);                 1.40   Burke, James W.
                      emails regarding litigation distribution list
                      (.2); prepare litigation team task list (1.1).


21274192 11/20/2017   Quality check of images to ensure consistency                  6.40   Chandani, Sachin
                      (1.6); processing of pdf production received
                      from Jones Day (1.6); load to relativity for
                      attorney review (1.1); download and extract new
                      documents for loading to relativity (0.5);
                      perform quality check and overlay imaged files
                      to database workspace (1.6).




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21282364 11/20/2017   Prepare coding panel to enable attorney                        2.50   Grabysz, Marcin
                      document review (0.5); organize documents
                      received from Jones Day for attorney review
                      (2.0).


21276469 11/20/2017   Meet with A. Lees re potential litigation and                  1.20   Hood, Andrea G.
                      discovery requests (.2); review materials for
                      case background (1.0).


21290748 11/20/2017   Attend meeting w/ litigation team re discovery.                0.40   Hooks, Daniel C.


21289034 11/20/2017   Review diligence data rooms provided by debtors                7.60   Kelly, Maxwell H.
                      (4); arrange for service of discovery requests
                      upon DAK Americas LLC (.3); attend team meeting
                      on discovery with litigation team (.4); review
                      produced drafts of DIP term sheet (2.9).


21437250 11/20/2017   Meet with internal team to discuss document                    6.80   Lees, Alexander
                      discovery (.4); emails re same (.5); emails
                      with debtors' counsel re document productions
                      and deposition scheduling (.3); meeting w/ A.
                      Hood re committee investigation (.2);
                      coordinate documents discovery (1.2); prepare
                      for hearing on motion to extend time (1.3);
                      internal emails re DIP objection (.8); review
                      first-day pleadings (1.4); reviewing DIP issues
                      list (.2); call with financial advisors re DIP
                      objection (.5).


21289035 11/20/2017   Review first debtor production (.5); review                    5.90   Lowy, Jenna A.
                      Data Room production (2.2); review original
                      draft (1.6) review first revised draft of Term
                      Sheet (.6); review draft summary re: same (.6);
                      meeting with team re: motion to extend time,
                      upcoming court conference, discovery, and
                      timeline for objections (.4).


21276021 11/20/2017   Assist M. Kelly with reviewing new pleadings                   0.50   Seegopaul, Brijranie Nelly E.
                      and filings.




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21437252 11/20/2017   Emails w/team re: discovery (.3); review D&O                   2.80   Stone, Alan J.
                      policies (.2); emails re: hearing on mtn to
                      adjourn (1.0); read Inbursa objection (.2);
                      meeting w/ internal team re: document discovery
                      (.4); review talking points for argument (.2);
                      read objection to motion to adjourn (.5).


21276475 11/21/2017   Review diligence materials (2.3); review formal                4.20   Hood, Andrea G.
                      and informal discovery requests served by
                      Creditors' Committee (.8); review motion re DIP
                      financing and interim order (1.1).


21289049 11/21/2017   Analyze redlines showing revisions to DIP term                 7.40   Kelly, Maxwell H.
                      sheet (3.6); prepare binder of relevant drafts
                      and redlines of term sheet negotiations (.3);
                      review Jones Day production (.1); prepare
                      amended 30(b)(6) deposition notice and second
                      requests for production of documents (3.0);
                      review coordinating filing of notices of
                      service for discovery requests (.4).


21437253 11/21/2017   Discovery communications with Inbursa, DAK, and                5.60   Lees, Alexander
                      debtors (.8); submit supplemental document
                      requests to Inbursa, DAK, and debtors (1.9);
                      review issues list re status of Committee
                      objections to bidding procedures and DIP
                      financing (2.9).


21289042 11/21/2017   Draft Supplemental Document Requests (1.0);                    6.50   Lowy, Jenna A.
                      revise Supplemental Document Requests (1.2),
                      review redlines of Term Sheet including draft
                      summary re: same (4.3).


21276027 11/21/2017   Prepare sheet negotiations binders with index                  4.50   Seegopaul, Brijranie Nelly E.
                      for case team (3.0); review updates to
                      Relativity database with Debtors' Production
                      (1.5).


21437415 11/21/2017   Prep for argument (.5); review discovery                       1.10   Stone, Alan J.
                      requests (.2); review meeting materials (.2);
                      emails re discovery (.2).




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21456155 11/22/2017   Update litigation task list.                                    0.90   Burke, James W.


21274297 11/22/2017   Perform overlay of transcript to west livenote                  3.00   Chandani, Sachin
                      (.2); processing of additional data, image and
                      OCR, (.7); upload for client share (.8);
                      extract first production from Cleary (.4);
                      locate conflicts in load file (.3); extract new
                      documents from data site (.6).


21292394 11/22/2017   Partially attend the telephonic hearing on the                  3.90   Glaser, Emily
                      Motion to Extend (.3); draft insert for the DIP
                      Motion Objection (1.8); conduct research in
                      connection with the DIP Motion Objection
                      relating to waiver of claims (.1); draft
                      document review protocol for review of incoming
                      document production (3.3); meet with litigation
                      team re: DIP objection (1.0); draft issues list
                      for incoming document review (.3).


21282256 11/22/2017   Adjust coding layout to enable attorney review                  2.50   Grabysz, Marcin
                      (0.5); prepare transfer of productions received
                      in preparation for transfer to Cole Schotz
                      (2.0).


21276697 11/22/2017   Review transcript of hearing re first day                       1.10   Hood, Andrea G.
                      motions for case background.


21290975 11/22/2017   Read DIP motion in connection with document                     2.30   Hooks, Daniel C.
                      review (1.4); review related discovery (.4);
                      correspondence with M. Kelly and J. Lowy re:
                      same (.5).




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21289070 11/22/2017   Coordinate granting FRG and co-counsel access                 7.50   Kelly, Maxwell H.
                      to discovery database (.4); correspond re
                      review protocol for document review with J.
                      Burke (.2); call re term sheet negotiation
                      chart project with J. Lowy (.8); correspond re
                      document review and term sheet chart work flow
                      and key issues with J. Lowy (.3); summarize
                      Inbursa responses and objections to first set
                      of requests for production of documents (.6);
                      analyze cumulative redline of term sheet (1.3);
                      attend meet and confer regarding Inbursa's
                      objections to document requests (.6); review of
                      follow-up correspondence with opposing counsel
                      regarding meet & confer with counsel for
                      Inbursa (.1); draft summaries of meet and
                      confer with counsel for Inbursa (.7);
                      correspond re questions about term sheet with J
                      Burke (.5); coordinate receipt and upload of
                      first document production from Inbursa (.2);
                      draft search terms for document requests
                      directed to Inbursa (.2); analyze DAK's
                      responses and objections to first request for
                      production of documents (.7); analyze of DAK's
                      responses and objections to Rule 30(b)(6)
                      deposition notice (.6); correspondence with
                      counsel to DAK regarding DAK's responses and
                      objections (.3).


21437419 11/22/2017   Attend to internal emails re discovery issues                 4.60   Lees, Alexander
                      (1.3); confer with Inbursa re discovery (1.0);
                      review responses to discovery requests (.5)
                      summarize discovery responses for internal team
                      (.6); revise summary of meeting with internal
                      team (.5); emails with local counsel re
                      discovery disputes (.1); review DAK discovery
                      responses (.5); emails with Morris James re
                      discovery issues (.1).


21289445 11/22/2017   Review cumulative redline of Term Sheet (2.2);                3.40   Lowy, Jenna A.
                      call with M. Kelly re: document review and
                      summary of Term Sheet (.8); review Document
                      Requests and search terms for Lender (.4).




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21276036 11/22/2017   Organize discovery documents and correspondence                3.50   Seegopaul, Brijranie Nelly E.
                      between parties for attorney team on shared
                      drive.


21438627 11/22/2017   Emails re: discovery.                                          0.70   Stone, Alan J.


21292411 11/23/2017   Draft document review protocol for review of                   1.70   Glaser, Emily
                      incoming document production.


21289079 11/23/2017   Correspondence with counsel for DAK regarding                  0.40   Kelly, Maxwell H.
                      DAK's R&Os to discovery requests.


21293763 11/23/2017   Correspondence with Inbursa re discovery.                      0.30   Lees, Alexander


21275549 11/23/2017   Review Email from Cleary re: discovery.                        0.10   Stone, Alan J.


21456204 11/24/2017   Review and comment on ESI search terms for                     1.30   Burke, James W.
                      discovery related to DIP and cash collateral
                      motions and bidding procedures.


21274420 11/24/2017   Extract new discovery documents posted in                      0.50   Chandani, Sachin
                      dataroom (.2); load same to relativity database
                      for review (.3).


21292414 11/24/2017   Draft document review protocol for review of                   3.40   Glaser, Emily
                      incoming document production (3.0); edit same
                      (0.4).


21277987 11/24/2017   Prepare discovery issue designations for                       1.80   Grabysz, Marcin
                      attorney review (0.5); adjust and combined
                      various designations in preparation for
                      attorney review (1.3).


21290980 11/24/2017   Review document review protocol for Review of                  5.10   Hooks, Daniel C.
                      Inbound Data (.4); review motion for extension.
                      (.4); review discovery (4.3).


21438590 11/24/2017   Emails with Inbursa and DAK re discovery issues                2.40   Lees, Alexander
                      (.6); internal emails re discovery issues (.4);
                      meet with DAK counsel re discovery (1.0);
                      summarize meeting for internal team (.4).


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21289076 11/24/2017   Review Security and Priority, Adequate                         1.00   Lowy, Jenna A.
                      Protection, and Carve Out provisions in DIP
                      Term Sheet drafts.


21438591 11/24/2017   Corr w/ A. Lees re: discovery issues (.2);                     0.50   Stone, Alan J.
                      emails re discovery (.3).


21290983 11/25/2017   Review discovery.                                              0.80   Hooks, Daniel C.


21289082 11/25/2017   Review positions taken in call with counsel for                5.00   Kelly, Maxwell H.
                      DAK (.5); prepare chart comparing Inbursa and
                      Debtor edits to DIP term sheet (4.4); upload
                      new production from Inbursa (.1).


21275602 11/25/2017   Review internal emails re: strategy for DIP                    0.20   Stone, Alan J.
                      litigation.


21274475 11/26/2017   Download new documents posted from client (.2);                0.80   Chandani, Sachin
                      process same for review (.6).


21277659 11/26/2017   Prepare and review production received from                    7.00   Grabysz, Marcin
                      CGSH volume: INBURSA002 of 897 documents for
                      attorney review from Inbursa (1.7); Prepare
                      process and review production received from
                      Jones Day volume: M&G_001 of 1892 documents for
                      attorney review (2.8); prepare productions
                      received from Jones Day and CGSH for upload and
                      review by local co-counsel Coles Schotz (1.5);
                      adjust MILBANK on line repository views as
                      requested for efficient attorney review format
                      same (.6); coordinate upload and processing of
                      additional documents received from DataSite
                      Project Dawn 2014 for attorney review (.4).


21291011 11/26/2017   Review first set of 11.26.2017 Data Room                       5.00   Hooks, Daniel C.
                      documents produced by Inbursa (3.7); review
                      second set of 11.26.2017 Data Room documents
                      produced by Inbursa (1.3).




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21289083 11/26/2017   Coordinate upload of new production from                       6.00   Kelly, Maxwell H.
                      Inbursa (.1); call with A. Lees regarding DAK
                      R&Os (.3); draft search terms for DAK internal
                      communications (.2); revise chart of edits to
                      DIP term sheet to reflect additional terms
                      (4.5); review first day filings (.5); call with
                      J. Burke regarding document review (.4).


21282112 11/26/2017   Emails with team regarding upcoming deposition                 0.80   Kopacz, Gregory A.
                      and related issues.


21445202 11/26/2017   Emails with team re: discovery issues (.5);                    0.80   Lees, Alexander
                      call with M. Kelly re DAK discovery issues (.3).


21289085 11/26/2017   Review Security and Priority, Adequate                         5.30   Lowy, Jenna A.
                      Protection, and Carve Out provisions in Term
                      Sheet drafts (2); draft summary re: same (3.3).


21445203 11/26/2017   Team emails re: discovery (.1); corresp with                   0.70   Stone, Alan J.
                      internal team re same (.5); team emails re:
                      Rothschild discovery (.1).


21318925 11/27/2017   Perform extraction of new production received                  0.40   Chandani, Sachin
                      from Jones day on to Milbank systems.


21464283 11/27/2017   Review incoming documents produced by Inbursa                  9.50   Glaser, Emily
                      and Debtors (8.5); analyze document production
                      for litigation and bankruptcy team (.3);
                      summarize key documents for review of incoming
                      production (.5); meet with review team re:
                      incoming production and analysis of documents
                      (.2).


21326363 11/27/2017   Prepare additional document designation issues                 6.50   Grabysz, Marcin
                      to ensure timely and accurate document review
                      (0.5); prepare production materials related to
                      discovery requests to Cole Schotz (2.0);
                      coordinate with Cole Schotz on accessing
                      document productions (1.0); review documents
                      (0.7); prepare specialized searches to identify
                      hot documents for export (0.5); commence the
                      export (.9); finalize the export. (.9).



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21303986 11/27/2017   Call with litigation team re document review                  3.40   Hood, Andrea G.
                      and discovery to date re DIP (.5); outline
                      preliminary issues and comments for discovery
                      (.9); email correspondence with A. Stone and A.
                      Lees re same (.1); call with A. Stone and A.
                      Lees re same (.5); review discovery requests in
                      other bankruptcy cases asserting similar
                      theories (.5); start reviewing article on same
                      for drafting discovery requests re same (.9).


21342114 11/27/2017   Review second set of 11.26.2017 Data Room                     8.50   Hooks, Daniel C.
                      documents produced by Inbursa (3.2); attend
                      litigation meeting re: outstanding issues (.5);
                      attend meeting with A. Lees, M. Kelly, and J.
                      Lowy re: DIP motion and important issues in
                      connection with document review (.5); review
                      DIP motion in connection with document review
                      (1); create document review list (2.2);
                      circulate same (.2); review re: mechanics'
                      liens in connection with DIP motion (.5);
                      summarize (.2) and circulate findings (.2).


21319740 11/27/2017   Review debtors' November 26 & 27 document                     8.50   Kelly, Maxwell H.
                      productions (6.2); litigation team meeting re
                      case status (.5); meeting with J. Lowy, D.
                      Hooks, A. Lees re DIP discovery (.5); review
                      DIP motion (1); call with A. Lees and counsel
                      to Inbursa regarding deposition scheduling and
                      objections (.2); meeting with internal team re
                      deposition scheduling (.1).


21445204 11/27/2017   Review documents relating to DIP and sale                     6.80   Lees, Alexander
                      procedures (3.4); meeting with A. Hood and A.
                      Stone to discuss discovery issues (.5); meet
                      and confer with Inbursa re discovery issues
                      (.2); corresp with team re document review
                      procedures (.2); research regarding potential
                      estate claims (.7); meeting with internal
                      Milbank team to discuss DIP discovery (.5);
                      meeting with document review team to discuss
                      DIP related issues (.2); review Inbursa
                      supplemental discovery responses (.5); prepare
                      for meet and confer with same (.4); review
                      documents relating to mechanics liens (.2).


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21333551 11/27/2017   Meeting with A. Lees, M. Kelly and D. Hooks                    5.80   Lowy, Jenna A.
                      (.5) review documents produced by Inbursa
                      (5.3).


21319880 11/27/2017   Correspond with M. Kelly regarding review and                  1.00   Seegopaul, Brijranie Nelly E.
                      organization of case files (.2); assist M.
                      Kelly with reviewing, organizing and updating
                      case shared drive with case correspondence
                      between parties (.8).


21445326 11/27/2017   Call w/ bankruptcy team re: DIP objection (.5);                2.10   Stone, Alan J.
                      call w/ A. Lees, A. Hood re: 2004 discovery
                      (.5); review docs re: mech. Liens (.2);`
                      emails w/ team re: discovery (.3); call w/local
                      counsel re: Rothschild (1.0); meeting w/ lit
                      team re: discovery (.5).


21318384 11/28/2017   Review relevant pleadings and document review                  7.50   Ayandipo, Abayomi A.
                      protocol memorandum (1.8); corresp with J.
                      Burke & E. Glaser re same (.4); review
                      documents for relevance (5.3).


21318969 11/28/2017   Download first production from Weil.                           1.00   Chandani, Sachin


21332823 11/28/2017   Review incoming documents produced by Inbursa                  9.60   Glaser, Emily
                      and Debtors (8.8); meeting with document review
                      team re: progress of incoming document review
                      (.3); summarize key documents for deposition
                      preparation (.5).


21327116 11/28/2017   Prepare specialized searches to identify hot                   6.30   Grabysz, Marcin
                      documents (0.5); convert and export two sets of
                      PDF files of Hot Documents for attorney review
                      (1.3); convert native Microsoft Excel files to
                      PDF file format for attorney review (0.5);
                      prepare and provide assistance to Cole Schotz
                      with accessing and reviewing production
                      received from various parties (1.0); prepare
                      production received from Weil for attorney
                      review and transfer to Cole Schotz (1.5);
                      prepare production received from Cleary
                      Gottlieb for attorney review and transfer to
                      Cole Schotz (1.5).


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21303988 11/28/2017   Review proposed protective order re                            8.80   Hood, Andrea G.
                      confidential information (.1); review chart of
                      "hot" documents in incoming productions (.1);
                      continue reviewing articles on various
                      preference claims (1.0); review sample
                      discovery requests from prior bankruptcy cases
                      (.7); draft document requests to Debtors
                      pursuant to Rule 2004 (6.9).


21342116 11/28/2017   Review third set of 11.26.2017 Data Room                       7.40   Hooks, Daniel C.
                      documents produced by Inbursa (2.4); review
                      first set of 11.20.2017 Data Room documents
                      produced by Inbursa (.9); correspondence with
                      J. Burke, E. Glaser, M. Kelly, and J. Lowy re:
                      mechanics' liens excels found in document
                      review (.1); review second set of 11.27 data
                      room produced by Jones Day (4.0).


21319762 11/28/2017   Review November 27 and 28 document productions.                8.90   Kelly, Maxwell H.


21445328 11/28/2017   Review key documents concerning DIP (1.2);                     3.60   Lees, Alexander
                      attend discovery call with debtors (.2);
                      mark up protective order (1.3);
                      schedule depositions (.5);
                      internal correspondence re discovery (.4).


21333298 11/28/2017   Review documents produced by debtors and                       7.70   Lowy, Jenna A.
                      Inbursa.


21319881 11/28/2017   Assist M. Kelly with reviewing, organizing and                 5.50   Seegopaul, Brijranie Nelly E.
                      updating case shared drive (4.7); review
                      Relativity database re same (.3); corresp with
                      M. Kelly regarding case contact list,
                      productions and upcoming depositions (.5).


21445760 11/28/2017   Review hot documents (1.0); Review confi. Stip                 3.50   Stone, Alan J.
                      (.3); corresp w/ A. Lees re strategy (.2); read
                      pleadings and annual report (1); review letter
                      to board (.3); review memos to committee (.5);
                      review KEIP (.2).




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21318382 11/29/2017   Correspondence with E. Glaser re document                      9.50   Ayandipo, Abayomi A.
                      review protocol memo(.2); review documents for
                      relevance (8.9); correspondence with team re
                      same (.4).


21319018 11/29/2017   Download new data room documents.                              0.50   Chandani, Sachin


21332846 11/29/2017   Review of incoming documents produced by                       5.50   Glaser, Emily
                      Inbursa and Debtors (3.0); correspond with
                      litigation team re: deposition preparation
                      (.3); summarize key documents for deposition
                      preparation (.2); draft deposition outline for
                      deposition of Debtors (.7); analyze documents
                      produced to support issues raised in objection
                      to DIP motion (1.0); correspond with litigation
                      team re: analysis of incoming document review
                      (.3).


21304026 11/29/2017   Revise document requests to Debtors per                        0.80   Hood, Andrea G.
                      comments from A. Lees (.5); email
                      correspondence with L. Doyle and M. Price re
                      draft document requests to Debtors (.1); email
                      correspondence with P. Springer re Italian
                      counsel translating documents (.1); start
                      drafting Rule 30(b)(6) notice to Debtors
                      pursuant to Rule 2004 (.1).


21342118 11/29/2017   Review discovery.                                              6.40   Hooks, Daniel C.


21319801 11/29/2017   Review of November 28 document productions.                    8.70   Kelly, Maxwell H.


21445761 11/29/2017   Review key docs (1.1); internal call re depo                   6.90   Lees, Alexander
                      prep (.3); review responses to discovery
                      requests (.4); emails with debtors re
                      depositions (.3); prepare for DIP-related
                      depositions (3.1); review discovery requests
                      for investigation (1.1); attend to deposition
                      scheduling (.6).


21333306 11/29/2017   Review documents produced by debtors and                       5.70   Lowy, Jenna A.
                      Inbursa.




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21319887 11/29/2017   Correspondence with M. Kelly and J. Lowy                      5.00   Seegopaul, Brijranie Nelly E.
                      regarding updates to case distribution list and
                      assist with same (.2); update case files with
                      summary of hot documents (.1); continue to
                      assist M. Kelly with reviewing and updating
                      case shared drive with new correspondence
                      between parties regarding discovery and save
                      same to NetDocs (1.4); review case internal
                      Milbank email regarding discovery (.6);
                      continue to review case Relativity database and
                      confirm updates with production documents from
                      Dak and Debtors and note Bates ranges (.5);
                      assist J. Lowy with arrangements for Debtors,
                      Inbursa and Dak's depositions (1.2);
                      correspondence with same regarding deposition
                      preparation files for Debtors, Inbursa and Dak
                      depositions (.2); correspondence with G.
                      Holland and M. Kelly regarding assistance with
                      preparing hot document and deposition
                      preparation files for attorney team (.6); and
                      review case shared drive and database with G.
                      Holland (.2).


21446056 11/29/2017   Review doc requests (.3); internal team meeting               1.30   Stone, Alan J.
                      re depo prep (.3); corresp w/ A. Lees re
                      depositions (.2); review hot documents (.5).


21318403 11/30/2017   Review relevant pleadings and document review                 3.50   Ayandipo, Abayomi A.
                      protocol memorandum (.2); review supplemental
                      DAK document production (2.9); respond to
                      attorney requests re hot documents and
                      deposition preparation (.4).


21319047 11/30/2017   Create new FTP site for client review (0.2);                  1.20   Chandani, Sachin
                      encrypt and upload documents for fileshare
                      (0.3); download new weil production and extract
                      to Milbank systems (0.7).


21464297 11/30/2017   Meet with litigation and bankruptcy team,                     2.00   Glaser, Emily
                      Jefferies and BRG re: deposition preparation
                      (2.0).




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          Date        Description                                                Hours Name


21323029 11/30/2017   Upload various productions received for                        4.30   Grabysz, Marcin
                      attorney review (2.3); prepare export of
                      documents (1.0); transfer documents to
                      co-counsel and financial advisors (1.0).


21319149 11/30/2017   Prepare Key Documents Binder as requested by M.                8.50   Holland, Greg
                      Kelly.


21316092 11/30/2017   Email correspondence with E. Reimer re draft                   8.20   Hood, Andrea G.
                      document requests to Debtors (.1); draft Rule
                      30(b)(6) notice to Debtors pursuant to Rule
                      2004 (2.8); draft interrogatories to Debtors
                      pursuant to Rule 2004 (2.4); address comments
                      from A. Lees on draft Rule 30(b)(6) notice to
                      Debtors (.2); revise interrogatories to Debtors
                      per comments from A. Lees (.7); email
                      correspondence with L. Doyle and M. Price re
                      draft Rule 30(b)(6) notice and interrogatories
                      (.1); start drafting discovery requests to
                      Inbursa (.6); start drafting discovery requests
                      to DAK (.3). review comments from Milbank
                      Global Corporate team on draft document
                      requests to Debtors (.1); email correspondence
                      with Global Corporate re same (.1); revise
                      document requests and other discovery requests
                      to Debtors and other parties to incorporate
                      same (.7); email correspondence with A. Stone
                      and A. Lees re same (.1).


21342899 11/30/2017   Review all documents produced for relevant                     4.20   Hooks, Daniel C.
                      information (4.0); draft email to A. Lees re:
                      findings of specific doc review. (.2).


21319828 11/30/2017   Organize documents for Inbursa deposition                      5.00   Kelly, Maxwell H.
                      (2.3); analyze term sheet revision chart (1);
                      correspond with A Lees re Inbursa deposition
                      plan (.5); conduct preliminary review of
                      November 30 production from DAK (1.2).




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                               MILBANK, TWEED, HADLEY & McCLOY LLP
                                                 Description of Legal Services
                                        November 13, 2017 through November 30, 2017
                                       43466.03500 Litigation & Rule 2004 Examinations
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21446059 11/30/2017   Prepare for DIP-related depositions (3.8);                      8.50   Lees, Alexander
                      review key docs (1.0); call with Inbursa
                      counsel re deposition (.3); internal call re
                      deposition strategy (2.0); review discovery
                      request (.6); attend to deposition scheduling
                      (.8).


21333317 11/30/2017   Review documents produced by Inbursa.                           5.90   Lowy, Jenna A.


21446179 11/30/2017   Corr. w/Lees re: discovery (.5); review hot                     4.00   Stone, Alan J.
                      docs (1.0); conf. call re: depo strategy (2.0);
                      review affirmative discovery (.5).




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                               MILBANK, TWEED, HADLEY & McCLOY LLP
                                               Description of Legal Services
                                       November 13, 2017 through November 30, 2017
                                43466.04100 M&G Creditors Committee - Regulatory Issues
          Date        Description                                                Hours Name


21244999 11/16/2017   Correspond with internal bankruptcy team re                    0.50   Schaeffer, Fiona
                      bidding procedures review (.2); start reviewing
                      bid procedures (.3).


21265884 11/17/2017   Correspondence with internal team re bidding                   1.50   Schaeffer, Fiona
                      procedures motion and related regulatory issues
                      (.4); review same (1.1).


21289330 11/23/2017   Correspondence re bidding procedures w/ F.                     0.60   Doyle, Lauren C.
                      Schaeffer (.4); correspondence re letter to
                      Board (.2).


21286530 11/23/2017   Correspond with internal team re status/next                   0.60   Schaeffer, Fiona
                      steps on antitrust analysis of sale process.


21289179 11/24/2017   Call with F. Schaeffer (.5); circulate                         0.70   Doyle, Lauren C.
                      documents re same (.1); correspondence with F.
                      Schaeffer re bidding procedures (.1).


21287686 11/24/2017   Call with L. Doyle re initial antitrust                        1.20   Schaeffer, Fiona
                      assessment of bidding procedures (.5); review
                      prior FTC statements on bidding procedures and
                      challenges re same (.4); start reviewing market
                      share data from banks (.3).


21323452 11/25/2017   Emails w/ F. Schaeffer re sale process (.1);                   0.80   Price, Michael
                      review market share info re same (.3); emails
                      w/ Jefferies team and Milbank team re same
                      (.1); coordinate discussion w/ company advisors
                      re same (.3).


21445199 11/25/2017   Consider antitrust issues raised by Rothschild                 1.80   Raval, Abhilash M.
                      (.9); consider possible responses re same (.9).


21278042 11/25/2017   Review background materials and market share                   2.30   Schaeffer, Fiona
                      data from banks (1.6); review prior FTC
                      decisions relating to the industry (.6);
                      correspond with Milbank team and Jefferies re
                      antitrust analysis and next steps (.1).




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                               MILBANK, TWEED, HADLEY & McCLOY LLP
                                                Description of Legal Services
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                                43466.04100 M&G Creditors Committee - Regulatory Issues
          Date        Description                                                Hours Name


21288199 11/26/2017   Call with team re antitrust issues and letter                  3.90   Doyle, Lauren C.
                      to board (.5); internal follow up
                      correspondence re same (.7); revise letter to
                      company re same (2.3); multiple correspondence
                      with team re same (.4).


21323557 11/26/2017   Call w/ F. Schaeffer and Jefferies team re                     0.90   Price, Michael
                      antitrust matters in connection with potential
                      sale process (.5); emails w/ Jones Day re same
                      (.2); follow up emails with Jefferies (.2).


21277613 11/26/2017   Review background materials on industry and                    4.50   Schaeffer, Fiona
                      players (1); analyze market share data and
                      calculation of HHIs (.3); draft insert for
                      letter to debtors' board re antitrust analysis
                      of sale (.2); call with Milbank team re
                      antitrust analysis and next steps with Jones
                      Day (.7); call with Jones Day antitrust counsel
                      re antitrust analysis of bidding process (.7);
                      debrief call with Milbank team (.5);
                      review/revise draft letter to the board and
                      circulate team with comments (1.1).


21462921 11/27/2017   Call re sale process with L. Szlezinger                        7.50   Doyle, Lauren C.
                      (Jefferies) & F. Schaeffer, M. Price & D.
                      O'Donnell (1.5); revise letter to Board re same
                      (2.6); prepare email to UCC re same (1.0);
                      correspondence with A. Raval re same (.4);
                      follow up call re same (1.0); prepare letter
                      for sending to Board (1.0).


21299485 11/27/2017   Attend calls with Milbank and Jefferies team re                2.10   Price, Michael
                      asset sale process (1.5); attend call with
                      company advisors re same (partial) (.6).


21283169 11/27/2017   Evaluate bidding process issues.                               0.80   Raval, Abhilash M.


21336873 11/27/2017   Comms with Milbank team and Jefferies team re                  2.50   Schaeffer, Fiona
                      sale process (1.5); revise draft letter to
                      Board re same (1.0).




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                               MILBANK, TWEED, HADLEY & McCLOY LLP
                                                 Description of Legal Services
                                        November 13, 2017 through November 30, 2017
                                 43466.04100 M&G Creditors Committee - Regulatory Issues
          Date        Description                                                 Hours Name


21337942 11/28/2017   Correspondence with Milbank team re bidding                     0.80   Schaeffer, Fiona
                      process call and next steps (.4); follow up
                      correspondence re same (.4).


21359043 11/29/2017   Call with antitrust counsel (1.1); call with F.                 2.00   Doyle, Lauren C.
                      Schaeffer re same (.9).


21337486 11/29/2017   Call with counsel re antitrust analysis of                      2.00   Schaeffer, Fiona
                      bidding process (1.1); call with L. Doyle re
                      same (.9).




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                               MILBANK, TWEED, HADLEY & McCLOY LLP
                                                Description of Legal Services
                                       November 13, 2017 through November 30, 2017
                       43466.04300 M&G Creditors Comm. - Retention of Professionals - Committee
          Date        Description                                                Hours Name


21263057 11/13/2017   Review local rules re: professional retention                  0.40   Kopacz, Gregory A.
                      in connection with Milbank retention.


21462866 11/14/2017   Corresp. w/ P. Springer re preparation of                      1.10   Bryan, Jarret J.
                      connection disclosure email (.4); draft same
                      (.7).


21283015 11/14/2017   Emails re connections for purposes of retention                0.20   Price, Michael
                      application.


21462868 11/15/2017   Draft Exhibit to connections disclosure email                  1.80   Bryan, Jarret J.
                      (1.5); corresp. w/ P. Springer and G. Kopacz re
                      Firmwide Email (.3).


21263145 11/15/2017   Review connections in connection with                          1.70   Kopacz, Gregory A.
                      retentions.


21247079 11/15/2017   Prepare internal email re disclosure of                        0.60   Springer, Paul J.
                      connections.


21255359 11/16/2017   Finalize firmwide letter re firm connections                   0.50   Bryan, Jarret J.
                      (.2); multiple corresps. w G. Kopacz re same
                      (.2); circulate letter to firm attorneys (.1).


21262956 11/16/2017   Draft firm-wide email regarding retention                      2.20   Kopacz, Gregory A.
                      issues and potential connections to M&G.


21430006 11/16/2017   Review connections for Milbank retention                       0.60   O'Donnell, Dennis C.
                      application and declaration.


21462873 11/17/2017   Begin preparation of connections binder (.8).                  0.80   Eskin, Emily Rose


21260771 11/17/2017   Conf. A. Miller, P. Springer, and D. O'Donnell                 1.20   Kinney, Brian
                      re: preparation of Schedule 2 for Raval
                      Declaration (.5); further corresp. with P.
                      Springer re: same (.7)


21253621 11/17/2017   Prepare materials for Milbank retention (2.0);                 2.60   Mardeusz, Julia I.
                      draft indexes of same (.4); corresp. with
                      duplicating re same (.1); deliver same to team
                      (.1).


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                               MILBANK, TWEED, HADLEY & McCLOY LLP
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                                       November 13, 2017 through November 30, 2017
                       43466.04300 M&G Creditors Comm. - Retention of Professionals - Committee
          Date        Description                                                Hours Name


21264101 11/17/2017   Meeting re Milbank connections review with B.                  0.50   Miller, Alexander E.
                      Kinney, D. O'Donnell, and P. Springer.


21267630 11/17/2017   Corresp. w/ P. Springer and paralegals re                      3.60   O'Donnell, Dennis C.
                      connections review (1.5); review draft Milbank
                      retention application (.9); meeting with B.
                      Kinney, P. Springer and A. Miller re
                      connections review (.5); review proposed
                      disclosures re same (.7).


21252209 11/17/2017   Meeting with B. Kinney, D. O’Donnell, A. Miller                4.40   Springer, Paul J.
                      to discuss process for connection searching and
                      compliance w/ guidelines re same (.5); conduct
                      connection search review (3.9).


21252367 11/18/2017   Draft Milbank retention application.                           2.10   Springer, Paul J.


21289230 11/20/2017   Correspondence w/ P. Springer re connections                   0.20   Doyle, Lauren C.
                      results.


21264036 11/20/2017   Review connections in preparation for Milbank                  7.60   Miller, Alexander E.
                      retention application.


21270945 11/20/2017   Review connections for Milbank retention                       3.80   Springer, Paul J.
                      application.


21270963 11/22/2017   Coordinate preparation of additional                           0.60   Springer, Paul J.
                      connections binders for review.


21277873 11/22/2017   Assemble binders re potential connections                      1.30   Thomas, Charmaine
                      search.


21270965 11/24/2017   Revise Milbank retention application (.4);                     0.60   Springer, Paul J.
                      correspondence with D. O'Donnell re same (.2).


21291574 11/27/2017   Review connections in preparation for Milbank                  4.90   Miller, Alexander E.
                      retention application.


21382201 11/27/2017   Review comments to retention application (.4);                 0.70   O'Donnell, Dennis C.
                      emails with team re same (.3).



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                               MILBANK, TWEED, HADLEY & McCLOY LLP
                                                 Description of Legal Services
                                        November 13, 2017 through November 30, 2017
                       43466.04300 M&G Creditors Comm. - Retention of Professionals - Committee
          Date        Description                                                 Hours Name


21464282 11/27/2017   Review production thus far re mechanics liens                   0.30   Price, Michael
                      (.3).


21311555 11/27/2017   Review connections for Milbank retention                        2.60   Springer, Paul J.
                      application (2.3); prepare email for foreign
                      counsel on retention application format (.3).


21322653 11/28/2017   Draft schedule 1 of retention application (2);                  2.70   Bryan, Jarret J.
                      corresp. w/ P. Springer re same (.7).


21358161 11/28/2017   Review communication to Italian counsel.                        0.30   Doyle, Lauren C.


21465313 11/28/2017   Correspondence with internal FRG team re                        3.30   Doyle, Lauren C.
                      committee professionals retentions.


21382013 11/28/2017   Review comments to Milbank retention                            0.90   O'Donnell, Dennis C.
                      application (.6); emails with team re same
                      (.3).


21311569 11/28/2017   Correspondence re significant client                            1.40   Springer, Paul J.
                      disclosures (.3); revise Milbank retention
                      application (1.1).


21372270 11/29/2017   Review connections (.4); correspondence re                      1.20   Doyle, Lauren C.
                      proposed order (.3); multiple correspondence re
                      potential hearing dates (.5).


21302964 11/29/2017   Correspond with internal team re: Milbank                       8.20   Kinney, Brian
                      Retention App (.4); Review said app (4.3);
                      revise same (3.5).


21333431 11/29/2017   Review firm connections with significant                        2.30   Miller, Alexander E.
                      clients in preparation for Milbank retention
                      app (1.9); draft list of such connections (.2);
                      circulate same to internal team (.2).


21333227 11/29/2017   Review comments to retention application (1.2);                 2.20   O'Donnell, Dennis C.
                      emails re same (.4); meeting with team re: same
                      (.6)


21333891 11/29/2017   Emails w/ D. Galfus (BRG) re retention issues.                  0.20   Price, Michael


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                       43466.04300 M&G Creditors Comm. - Retention of Professionals - Committee
          Date        Description                                                Hours Name


21311573 11/29/2017   Internal team meeting re Milbank retention                     3.80   Springer, Paul J.
                      application (.6); correspondence w/ conflicts
                      team re additional searches for potential
                      connections (.8); prepare connection review
                      materials for additional results (.7); review
                      potential connections (1.7).


21322686 11/30/2017   Update schedule 2 to retention application.                    1.00   Bryan, Jarret J.


21346733 11/30/2017   Revise Milbank retention application.                          3.80   Kinney, Brian


21333437 11/30/2017   Review connections in preparation for Milbank's                7.10   Miller, Alexander E.
                      retention application.


21328276 11/30/2017   Conference call with Italian counsel (.5);                     0.90   O'Donnell, Dennis C.
                      review proposed precedents (.4).


21312321 11/30/2017   Review potential connections (1.9); search                     4.10   Springer, Paul J.
                      internal case memos for potential connections
                      (1.1); call with Italian counsel to discuss
                      foreign counsel fee application (.3); revise
                      Milbank retention application (.6);
                      correspondence re binder production for
                      potential connections (.2).




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                               MILBANK, TWEED, HADLEY & McCLOY LLP
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                                       November 13, 2017 through November 30, 2017
                          43466.04400 M&G Creditors Comm. - Retention of Professionals - Other
          Date        Description                                                Hours Name


21264143 11/15/2017   Review Debtors' Retention applications (2.2);                  3.50   Miller, Alexander E.
                      draft summaries of the retention applications
                      for a Second Day Motions omnibus memorandum to
                      the Committee (1.3).


21263034 11/16/2017   Emails with team regarding Rothschild                          1.70   Kopacz, Gregory A.
                      engagement letter (.4); prepare summary and
                      analysis of material terms of engagement letter
                      (1.3).


21262877 11/17/2017   Analyze Rothschild retention application for                   1.60   Kopacz, Gregory A.
                      memorandum.


21430020 11/17/2017   Review retention applications for estate                       2.50   Miller, Alexander E.
                      professionals.


21262837 11/18/2017   Conduct analysis regarding Rothschild's                        0.40   Kopacz, Gregory A.
                      retention application.


21289244 11/19/2017   Review A&M retention application (.6);                         1.20   Doyle, Lauren C.
                      correspondence with P. Springer and D.O'Donnell
                      re Alix protocol and issues re same (.2);
                      correspondence re Rothschild retention w/ P.
                      Springer and D. O'Donnell (.4).


21254164 11/19/2017   Confs. with N. Augustine (Rothschild) re:                      0.60   Dunne, Dennis F.
                      retention terms (.4); review retention open
                      issues re same (.2).


21464252 11/19/2017   Revise Second Day Motions Omnibus Memo's                       5.20   Miller, Alexander E.
                      retention application sections.


21267625 11/19/2017   Revise Committee memo re A&M retention (2.2);                  3.50   O'Donnell, Dennis C.
                      revise Committee memo re Rothschild retention
                      (1.3).




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                               MILBANK, TWEED, HADLEY & McCLOY LLP
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                          43466.04400 M&G Creditors Comm. - Retention of Professionals - Other
          Date        Description                                                Hours Name


21252379 11/19/2017   Correspondence with L. Doyle re A&M retention                  5.20   Springer, Paul J.
                      application section of second day memo (.7);
                      compile precedent retention applications for
                      same (.6); revise memo re: same (1.4);
                      correspondence with D. O'Donnell re Rothschild
                      application section of same (.6); incorporate
                      further revisions re same (1.8); emails re same
                      w/ A. Raval (.1).


21258418 11/20/2017   Review open Rothschild retention issues.                       0.30   Dunne, Dennis F.


21299634 11/20/2017   Call w/ D. Hurst (Cole Schotz) re status of                    0.40   Price, Michael
                      Debtor retention applications.


21263294 11/21/2017   Analysis of Debtors' motion to retain special                  2.20   Kopacz, Gregory A.
                      counsel.


21267692 11/21/2017   T/cs with Jones Day and L. Doyle re A&M &                      2.60   O'Donnell, Dennis C.
                      Rothschild applications (.3); and corr. w/ L.
                      Doyle re same (.6); revise summary of same
                      (.2); revise ordinary course professionals list
                      (.6); emails re same (.3); emails w/ G. Kopacz
                      re A&M issues (.6).


21437417 11/22/2017   Correspondence with A&M re open issues on                      1.00   Doyle, Lauren C.
                      retention.`


21437418 11/22/2017   Prepare email to UCC re A&M retention                          0.70   Doyle, Lauren C.
                      application.


21382214 11/22/2017   Comms. w/ Jones Day and L. Doyle re A&M and                    2.80   O'Donnell, Dennis C.
                      Rothschild applications (1.9); revise summary
                      of same (.2); Alvarez & Marsal re A&M issues
                      (.7).


21275571 11/24/2017   Confs. with N. Augustine (Rothschild) re                       0.90   Dunne, Dennis F.
                      Rothschild retention (.3); confs. with L.
                      Szlezinger (Jefferies) re same (.2); review
                      next steps and settlement options re same (.4).




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          Date        Description                                                Hours Name


21445197 11/25/2017   Email correspondence with D. Dunne and A. Raval                0.60   Doyle, Lauren C.
                      re Rothschild comps (.3); review same (.3).


21275589 11/25/2017   Review Rothschild issues and potential                         0.50   Dunne, Dennis F.
                      modifications/settlement (.4); corresp with N.
                      Augustine re same (.1).


21288150 11/27/2017   Call with D. Hurst (Cole Schotz) re status of                  0.50   Doyle, Lauren C.
                      objection to Rothschild retention (.3); follow
                      up correspondence re same (.2).


21323120 11/27/2017   Prepare for call with Cole Schotz regarding                    1.20   Kopacz, Gregory A.
                      Rothschild retention issues (.9); attend call
                      with Cole Schotz regarding Rothschild issues
                      (.3).


21445325 11/27/2017   Consider resolution of Rothschild retention.                   1.00   Raval, Abhilash M.


21481141 11/27/2017   Emails w/ Cole Schotz re: Rothschild fee (.1);                 1.10   Stone, Alan J.
                      call w/local counsel re: Rothschild (1.0).


21358156 11/28/2017   Correspondence re Rothschild objection and                     0.60   Doyle, Lauren C.
                      resolution of same with Cole Schotz.


21294816 11/28/2017   Review possible settlement terms with                          0.90   Dunne, Dennis F.
                      Rothschild.


21323638 11/28/2017   Research regarding Debtors' motion to retain                   2.20   Kopacz, Gregory A.
                      special counsel (2.2).


21303002 11/29/2017   Review terms of possible settlement w                          0.70   Dunne, Dennis F.
                      Rothschild (.3); review comps re same (.4).


21328277 11/30/2017   Comms. with Jones Day team re A&M retention.                   0.70   O'Donnell, Dennis C.




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                      43466.04600 M&G Creditors Comm-Schedules/Statements of Financial Affairs
          Date        Description                                               Hours Name


21323649 11/27/2017   Analyze objection of lienholder committee to                  0.90   Kopacz, Gregory A.
                      SOFA/Schedule extension.


21462916 11/28/2017   Review debtors' reply in support of motion to                 0.40   Kopacz, Gregory A.
                      extend SOFA deadline (.3); email team regarding
                      same (.1).




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                               MILBANK, TWEED, HADLEY & McCLOY LLP
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                             43466.04700 M&G Creditors Committree - Secured Creditor Issues
          Date        Description                                                Hours Name


21255335 11/15/2017   Bluebook/cite check letter re lien committee                   1.20   Bryan, Jarret J.
                      formation (1.0); corresp.w/ C. Price re same
                      (.2).


21429791 11/15/2017   Review mechanics' lien response to Committee                   1.20   O'Donnell, Dennis C.
                      letter.


21462867 11/15/2017   Draft letter re Mechanic's lien committee                      6.10   Price, Craig Michael
                      request (4.6); related research re same (1.5).


21255356 11/16/2017   Edit letter re lienholder committee formation                  0.20   Bryan, Jarret J.
                      (.1); corresp. w/ C. Price re same (.1).


21430007 11/16/2017   Review revised draft of mechanics' lien                        0.60   O'Donnell, Dennis C.
                      Committee opposition.


21464241 11/16/2017   Emails with Cole Schotz re mechanics lien                      0.20   Price, Michael
                      counsel request (.2).


21330752 11/17/2017   Revise letter re lienholders committee.                        0.80   Price, Craig Michael


21260961 11/18/2017   Research Texas mechanic lien law (3.3); review                 4.20   Kinney, Brian
                      searches for M&G Resins re: same (.9).


21289243 11/19/2017   Revise letter to UST re mechanic lien                          0.70   Doyle, Lauren C.
                      committee.


21289907 11/20/2017   Proofread 11-17 response letter to UST (.6);                   0.80   Bryan, Jarret J.
                      corresp. w/ C. Price re same (.2).


21292600 11/20/2017   Research re: Texas mechanic liens (4.5); emails                4.70   Kinney, Brian
                      to internal team re: same (.2).


21407347 11/20/2017   Review letter to U.S. Trustee opposing                         2.00   O'Donnell, Dennis C.
                      appointment of mechanics lien committee (.8);
                      correspondence w/ L. Doyle re same (.4); review
                      lien identification motion (.8).


21294830 11/20/2017   Revise letter re lien committee (.7); revise re                1.20   Price, Craig Michael
                      A. Raval comments (.5).



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                             43466.04700 M&G Creditors Committree - Secured Creditor Issues
          Date        Description                                                 Hours Name


21462904 11/21/2017   Corr. w/ A. Raval re analysis of Mechanics                      0.70   Doyle, Lauren C.
                      liens (.5); corr w/ A. Raval re mechanics lien
                      committee request (.2).


21462918 11/21/2017   Analysis of debtors' lien procedures motion.                    1.60   Kopacz, Gregory A.


21294818 11/21/2017   Revise letter to UST re lienholder request                      1.00   Price, Craig Michael
                      (1.0).


21263364 11/21/2017   Revise letter to UST re: opposition to                          1.00   Raval, Abhilash M.
                      formation of Official Lien Committee.


21462892 11/22/2017   Review mechanics lien letter.                                   0.20   Doyle, Lauren C.


21292788 11/22/2017   Research re: mechanic liens (1.3); call with D.                 5.70   Kinney, Brian
                      Hurst (Cole Schatz), M. Price re: same (.3);
                      correspond with internal team re same (.1);
                      review precedent cases re: same (3.2); review
                      transcripts re: same (.8).


21294811 11/22/2017   Prepare committee letter re lien claimant                       0.80   Price, Craig Michael
                      request (.6); distribute letter to US Trustee
                      (.2).


21300690 11/22/2017   Call w/ B. Kinney and D. Hurst (Cole Schotz) re                 0.60   Price, Michael
                      mechanics' liens (.3); review lien searches and
                      analyses (.3).


21462889 11/22/2017   Review letter seeking formation of official                     1.90   Raval, Abhilash M.
                      lien holder Committee (1.0); revise letter to
                      UST re: same (.9).


21270961 11/22/2017   Research re treatment for a mechanic's lien                     1.70   Springer, Paul J.
                      (1.1); research re adequate protection for
                      mechanic's lien holders (.6).


21282231 11/24/2017   Draft memo on motions to retain special counsel                 3.60   Kopacz, Gregory A.
                      and establish lien identification procedures.


21270966 11/24/2017   Research re mechanic’s lien issues and case                     2.60   Springer, Paul J.
                      law.


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                                                Description of Legal Services
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                             43466.04700 M&G Creditors Committree - Secured Creditor Issues
          Date        Description                                                Hours Name


21464275 11/27/2017   Review mechanics lien chart (.7).                              0.70   Kinney, Brian


21312337 11/27/2017   Search for objections to producers committee                   0.20   Mardeusz, Julia I.
                      filed in precedent case (.1); circulate same to
                      team (.1).


21294820 11/27/2017   Draft objection re lienholders committee (3);                  3.60   Price, Craig Michael
                      review related materials and cases (.6).


21414163 11/28/2017   Participate in teleconference with M. Price and                0.50   Burke, James W.
                      B. Kinney regarding mechanic’s lien review.


21464288 11/28/2017   Conf. with Cole Schotz team re: mechanics liens                0.60   Kinney, Brian
                      (.6).


21294804 11/28/2017   Draft objection to appointment of lien                         4.00   Price, Craig Michael
                      committee.


21464291 11/28/2017   Call w/ M. Warner (Cole Schotz) and B. Kinney                  0.60   Price, Michael
                      re mechanics lien issues (.6).


21464296 11/29/2017   Prepare mechanics' lien legal/factual queries                  1.50   Price, Michael
                      (1.3); corresp w/ Cole Schotz team re same
                      (.2).




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